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 6

 7
                              UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9
       HAYATO ONO, derivatively on behalf of
10     THE HONEST COMPANY, INC.,
11                                                  Case No.:
             Plaintiff,
12
             v.
13

14     NIKOLAOS VLAHOS, KELLY
       KENNEDY, JESSICA WARREN,
15
       KATIE BAYNE, SCOTT DAHNKE,
16     SUSAN GENTILE, ERIC LIAW,
       JEREMY LIEW, AVIK PRAMANIK
17
       and JAMES WHITE,
18
             Defendants,
19

20           and
21
       THE HONEST COMPANY, INC.,
22
             Nominal Defendant.
23

24

25
                   VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

26                                    DEMAND FOR JURY TRIAL
27

28

                               Verified Shareholder Derivative Complaint
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 1
                                         INTRODUCTION
 2
           Plaintiff Hayato Ono (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively
 3
     and on behalf of Nominal Defendant The Honest Company, Inc. (“Honest” or the
 4
     “Company”), files this Verified Shareholder Derivative Complaint against Individual
 5
     Defendants Nikolaos Vlahos (“Vlahos”), Kelly Kennedy (“Kennedy”), Jessica Warren
 6
     a/k/a Jessica Alba (“Warren”), Katie Bayne (“Bayne”), Scott Dahnke (“Dahnke”), Susan
 7
     Gentile (“Gentile”), Eric Liaw (“Liaw”), Jeremy Liew (“Liew”), Avik Pramanik
 8
     (“Pramanik”), and James White (“White”) (collectively, the “Individual Defendants,” and
 9
     together with Honest, the “Defendants”) for breaches of their fiduciary duties as directors
10
     and/or officers of Honest, unjust enrichment, abuse of control, gross mismanagement,
11
     waste of corporate assets, and for contribution under Sections 11(f) of the Securities Act
12
     of 1933 (the “Securities Act”) and 21D of the Securities Exchange Act of 1934 (the
13
     “Exchange Act”). As for Plaintiff’s complaint against the Individual Defendants, Plaintiff
14
     alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s own
15
     acts, and information and belief as to all other matters, based upon, inter alia, the
16
     investigation conducted by and through Plaintiff’s attorneys, which included, among other
17
     things, a review of the Defendants’ public documents, conference calls and announcements
18
     made by Defendants, United States Securities and Exchange Commission (“SEC”) filings,
19
     wire and press releases published by and regarding Honest, legal filings, news reports,
20
     securities analysts’ reports and advisories about the Company, and information readily
21
     obtainable on the Internet. Plaintiff believes that substantial evidentiary support will exist
22
     for the allegations set forth herein after a reasonable opportunity for discovery.
23
                                   NATURE OF THE ACTION
24
           1.     This is a shareholder derivative action that seeks to remedy wrongdoing
25
     committed by Honest’s directors and officers between May 5, 2021 through August 12,
26
     2021 (the “Relevant Period”) involving misleading statements and omissions made in
27
     connection with the Company’s May 2021 initial public offering of stock (the “IPO”),
28
                                                    1
                                Verified Shareholder Derivative Complaint
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 1
     failures to correct the misleading statements and omissions, and additional misleading
 2
     statements made subsequently to the IPO.
 3
           2.    Honest is a consumer products company focused on the “clean lifestyle
 4
     movement.” Honest seeks to develop clean, sustainable, effective, and thoughtfully
 5
     designed products. The Company’s three product categories are Diapers and Wipes, Skin
 6
     and Personal Care, and Household and Wellness, which represented 63%, 26%, and 11%
 7
     of the Company’s 2020 revenue, respectively.
 8
           3.    At the onset of the COVID-19 pandemic, consumer demand for the
 9
     Company’s diapers and wipes surged. In the second quarter of 2020, the Company’s
10
     Diapers and Wipes category grew 19% compared to the second quarter of 2019 due to
11
     consumer stock-up purchases.
12
           4.    Despite widespread awareness of stockpiling behavior during the early stages
13
     of the pandemic, the Company undertook measures to bolster its supply chain, such as
14
     securing secondary suppliers and ensuring sufficient inventory to support growth (the
15
     “Stockpiling Misconduct”). As a result, for the six months ended June 30, 2021, the
16
     Company had a $5.7 million increase in inventory, which it attributed to the timing of
17
     inventory purchases.
18
           5.    Honest filed a registration statement on Form S-1 with the SEC on April 9,
19
     2021 in order to pursue its IPO. After two amendments, the Form S-1 was declared
20
     effective on May 4, 2021 and was utilized to conduct the IPO. The Form S-1, and all
21
     amendments thereto are collectively referred to herein as the “Registration Statement.” A
22
     final prospectus was filed on May 6, 2021 (the “Prospectus”).
23
           6.    Shortly before the IPO, in April 2021, the Board approved a $35 million
24
     dividend to holders of its common stock and redeemable convertible preferred stock as of
25
     May 3, 2021, which was paid on June 29, 2021.
26
           7.    Honest’s common stock began trading on the Nasdaq Global Select Market
27
     (“NASDAQ”) on May 5, 2021, and the Company completed its IPO on May 7, 2021. In
28
                                                2
                            Verified Shareholder Derivative Complaint
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 1
     the IPO, the Company sold 6.45 million shares and existing stockholders sold 23.22 million
 2
     shares. The offering price was $16.00 per share, and the Company received aggregate net
 3
     proceeds of approximately $91.1 million.
 4
           8.    In the Registration Statement and throughout the Relevant Period, the
 5
     Individual Defendants made or caused the Company to make false and misleading
 6
     statements and omissions of material fact necessary to prevent the statements from being
 7
     misleading. Specifically, the Individual Defendants touted the Company’s financial results
 8
     while failing to disclose that the Company’s financial health was being adversely affected
 9
     by stockpiling behaviors, that demand for the Company’s products was decelerating, and
10
     that, simultaneously, the Company was engaging in the Stockpiling Misconduct.
11
           9.    The Individual Defendants’ misrepresentations had the effect of misleading
12
     the investing public and artificially inflating the Company’s stock at and around the time
13
     of the Company’s IPO and throughout the Relevant Period.
14
           10.   The truth emerged on August 13, 2021, before the market opened, when the
15
     Company issued a press release announcing financial results for fiscal quarter ended June
16
     30, 2021. The Company reported a net loss of $20 million for the quarter, as compared
17
     with a net loss of only $0.4 million in the same quarter of 2020. The Company disclosed
18
     “an estimated $3.7 million COVID-19 stock-up impact primarily in Diapers and Wipes in
19
     the prior year period.” It further disclosed that revenue in Diapers and Wipes declined 2%
20
     compared to the same quarter of 2020. Furthermore, Household and Wellness revenue
21
     declined 6% compared with the second quarter of 2020 “as consumer and customer demand
22
     for sanitization products decreased as consumers became vaccinated and customers
23
     managed heavy levels of inventory.”
24
           11.   On this news, the Company’s share price fell $3.98, or 28%, to close at $10.07
25
     per share on August 13, 2021. On August 19, 2021, the Company’s share price closed at
26
     $9.16 per share. Thus, the Company’s stock price declined nearly 43% from the IPO price
27
     per share of $16.00.
28
                                                 3
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 1
           12.    The Individual Defendants breached their fiduciary duties by personally
 2
     making and/or causing the Company to make to the investing public a series of materially
 3
     false and misleading statements regarding the Company’s business, operations, and
 4
     prospects. Specifically, the Individual Defendants willfully or recklessly made and/or
 5
     caused the Company to make false and misleading statements that failed to disclose, inter
 6
     alia: (1) the Company’s financial results were significantly impacted by stockpiling of the
 7
     Company’s products; (2) despite the negative implications of consumer and customer
 8
     stockpiling behavior on the Company’s future sales, the Company engaged in the
 9
     Stockpiling Misconduct to support growth that was not reasonably likely to materialize;
10
     (3) the Company was experiencing decelerating demand for its products; (4) as a result of
11
     the foregoing, the Company’s financial results were likely to be adversely impacted; and
12
     (5) the Company failed to maintain adequate internal controls. As a result of the foregoing,
13
     Honest’s public statements were materially false and misleading at all relevant times.
14
           13.    Throughout the Relevant Period, the Individual Defendants failed to correct
15
     and/or caused the Company to fail to correct these false and misleading statements and
16
     omissions of material fact, rendering them personally liable to the Company for breaching
17
     their fiduciary duties.
18
           14.    The Individual Defendants also breached their fiduciary duties by causing the
19
     Company to engage in the Stockpiling Misconduct, resulting in the waste of corporate
20
     assets.
21
           15.    Additionally, in breach of their fiduciary duties, the Individual Defendants
22
     willfully or recklessly caused the Company to fail to maintain adequate internal controls,
23
     including by failing to establish an internal audit function.
24
           16.    In light of the Individual Defendants’ misconduct—which has subjected the
25
     Company, its Chief Executive Officer (“CEO”), its Chief Financial Officer (“CFO”), its
26
     founder and Chief Creative Officer (“CCO”), and five of its non-employee directors
27

28
                                                   4
                               Verified Shareholder Derivative Complaint
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 1
     (collectively, the “Class Action Defendants”)1 to two securities fraud class actions lawsuit
 2
     pending in the United States District Court for the Central District of California (the
 3
     “Securities Class Actions”), and further subjected the Company to the need to undertake
 4
     intake internal investigations, the need to implement adequate internal controls, losses from
 5
     the waste of corporate assets, and losses due to the unjust enrichment of the Individual
 6
     Defendants who were improperly overcompensated by the Company and/or who benefitted
 7
     from the wrongdoing alleged herein—the Company will have to expend many millions of
 8
     dollars.
 9
           17.    The Company has been substantially damaged as a result of the Individual
10
     Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.
11
           18.    In light of the breaches of fiduciary duty engaged in by the Individual
12
     Defendants, most of whom are the Company’s current directors, of the collective
13
     engagement in fraud and misconduct by the Company’s directors, of the substantial
14
     likelihood of the directors’ liability in this derivative action and of the Class Action
15
     Defendants’ liability in the Securities Class Actions, of their not being disinterested and/or
16
     independent directors, a majority of the Company’s Board of Directors (the “Board”)
17
     cannot consider a demand to commence litigation against themselves on behalf of the
18
     Company with the requisite level of disinterestedness and independence.
19
                                  JURISDICTION AND VENUE
20
           19.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
21
     because Plaintiff’s claims raise a federal question under Section 11(f) of the Securities Act,
22
     15 U.S.C. § 77k(f)(1), and Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f).
23
     Plaintiff’s claims also raise a federal question pertaining to the claims made in the
24
     Securities Class Action based on violations of the Securities Act.
25

26

27   1
      The “Class Action Defendants” are as follows: CEO Vlahos, CFO Kennedy, CCO
28   Warren, and directors Bayne, Dahnke, Liaw, Liew, and Pramanik.
                                                   5
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 1
           20.    This Court has supplemental jurisdiction over Plaintiff’s state law claims
 2
     pursuant to 28 U.S.C. § 1367(a).
 3
           21.    This derivative action is not a collusive action to confer jurisdiction on a court
 4
     of the United States that it would not otherwise have.
 5
           22.    Venue is proper in this District because Honest’s principal executive offices
 6
     are in this District. In addition, a substantial portion of the transactions and wrongs
 7
     complained of herein occurred in this District, the Defendants have conducted business in
 8
     this District, and Defendants’ actions have had an effect in this District.
 9
                                              PARTIES
10
           Plaintiff
11
           23.    Plaintiff is a current shareholder of Honest. Plaintiff has continuously held
12
     Honest common stock at all relevant times.
13
           Nominal Defendant Honest
14
           24.    Honest is a Delaware corporation with its principal executive offices at 12130
15
     Millennium Drive, #500, Los Angeles, California 90094. Honest’s shares trade on the
16
     NASDAQ under the ticker symbol “HNST.”
17
           Defendant Vlahos
18
           25.    Defendant Vlahos has served as the Company’s CEO and as a Company
19
     director since March 2017. According to the Prospectus, and given that the underwriters
20
     fully exercised their option to purchase additional shares, Defendant Vlahos beneficially
21
     owned 3,587,470 shares of the Company after the IPO. Given that the price of the
22
     Company’s common stock was $19.08 when markets closed on May 7, 2021, when the
23
     IPO was completed, Defendant Vlahos beneficially owned approximately $68.45 million
24
     worth of Honest stock.
25
           26.    According to the Prospectus, Defendant Vlahos’ annual base salary is
26
     $825,000, and he is eligible for an annual target cash incentive payment equal to 50% of
27
     his annual base salary.
28
                                                   6
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 1
           27.   The Prospectus stated the following about Defendant Vlahos:
 2
           Nikolaos Vlahos has served as our Chief Executive Officer and as a member
 3         of our board of directors since March 2017. Prior to joining us, from
           September 2014 to March 2017, Mr. Vlahos served as Executive Vice
 4
           President and Chief Operating Officer – Household, Lifestyle and Core
 5         Global Functions of The Clorox Company, a global manufacturer of consumer
           products, where he was responsible for the Charcoal, Glad, Cat Litter, Food,
 6
           Brita and Burt’s Bees business operating units as well as the company’s
 7         Marketing, Sales, Product Supply and Research and Development functions.
           Mr. Vlahos initially joined The Clorox Company in 1995 as a Chicago
 8
           regional sales manager and held numerous roles within The Clorox
 9         Company’s sales and marketing organization before serving as Vice President
10
           – General Manager, Burt’s Bees from April 2011 to February 2013 and Vice
           President – General Manager, Laundry, Brita and Green Works from March
11         2009 to February 2011. Before joining The Clorox Company, Mr. Vlahos
12
           worked at Helene Curtis where he assisted in the development of brands such
           as Degree and Suave. Mr. Vlahos holds a B.A. degree in telecommunications
13         from Indiana University. We believe that Mr. Vlahos is qualified to serve on
14
           our board of directors due to his knowledge of our Company gained from his
           position as Chief Executive Officer, as well as his over 30 years of experience
15         in the consumer packaged goods industry.
16         Defendant Kennedy
17         28.   Defendant Kennedy has served as the Company’s CFO since January 2021.
18         29. The Prospectus stated the following about Defendant Kennedy:
19
          Kelly Kennedy has served as our Executive Vice President, Chief Financial
          Officer since January 2021. Prior to joining us, from September 2018 to
20        January 2021, Ms. Kennedy served as Chief Financial Officer of Bartell Drugs,
21        a family-owned pharmacy chain. Ms. Kennedy has served on the board of
          directors of Vital Farms Inc. since December 2019 and FirstFruits Farms LLC
22        since December 2019. Prior to that, Ms. Kennedy served on the board of
23        directors of Sur La Table, Inc. from September 2018 to November 2020 and
          served as the Chief Financial Officer of Sur La Table, Inc. from June 2015 to
24        September 2018, as the Chief Financial Officer of See’s Candies from January
25        2014 to June 2015 and as the Chief Financial Officer and Treasurer of Annie’s
          Inc. from August 2011 to November 2013. Ms. Kennedy has also served in
26        various roles at Revolution Foods, Inc., Established Brands, Inc., Serena &
27        Lily Inc., Forklift Brands, Inc., Elephant Pharm, Inc., Williams-Sonoma, Inc.
          and Dreyer’s Grand Ice Cream Holdings, Inc. Ms. Kennedy received her
28
                                                 7
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 1        M.B.A. from Harvard Business School and her B.A. in Economics from
 2        Middlebury College.
           Defendant Warren
 3
           30.    Defendant Warren founded the Company and has served as the Company’s
 4
     CCO since July 2011. In addition, she served as Chair of the Board from May 2018 to May
 5
     2021. Defendant Warren is also known as Jessica Alba, and has held various prominent
 6
     positions in the public sphere, including as a business leader, advocate, actress, and author.
 7
     According to the Prospectus, and given that the underwriters fully exercised their option to
 8
     purchase additional shares, Defendant Warren beneficially owned 5,645,118 shares of the
 9
     Company after the IPO. Given that the price of the Company’s common stock was $19.08
10
     when markets closed on May 7, 2021, when the IPO was completed, Defendant Warren
11
     beneficially owned approximately $107.71 million worth of Honest stock.
12
           31.    According to the Prospectus, Defendant Warren’s current annual base salary
13
     is $600,000, which will increase to $700,000 effective February 1, 2022. In addition, she
14
     is eligible for an annual target cash incentive payment equal to 55% of her annual base
15
     salary, which amount will increase to 70% of her then-current base salary starting January
16
     1, 2022.
17
           32. The Prospectus stated the following about Defendant Warren:
18
           Jessica Alba is one of our founders and has served as our Chief Creative
19         Officer since our incorporation in July 2011 and served as Chair of our board
20         of directors from May 2018 to May 2021. Ms. Alba is a globally recognized
           and influential Mexican-American business leader, entrepreneur, advocate,
21         actress, and New York Times bestselling author. Ms. Alba serves on the board
22         of directors of Baby2Baby, a charitable organization that provides diapers,
           clothes and other basic necessities to children living in poverty. We believe
23         that Ms. Alba is qualified to serve on our board of directors due to her
24         knowledge and insights in founding and developing our company in addition
           to her industry experience and knowledge.
25
           Defendant Bayne
26
           33.    Defendant Bayne has served as a Company director since October 2018. She
27
     served as Chair of the Compensation Committee and as a member of the Audit Committee
28
                                                   8
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 1
      during the Relevant Period. According to the Prospectus, and given that the underwriters
 2
      fully exercised their option to purchase additional shares, Defendant Bayne beneficially
 3
      owned 75,000 shares of the Company after the IPO. Given that the price of the Company’s
 4
      common stock was $19.08 when markets closed on May 7, 2021, when the IPO was
 5
      completed, Defendant Bayne beneficially owned approximately $1.43 million worth of
 6
      Honest stock.
 7
            34.    According to the Prospectus, Defendant Bayne receives a $50,000 annual cash
 8
      retainer for service as a non-employee director, a $15,000 annual cash retainer for service
 9
      as Chair of the Compensation Committee, and a $15,000 annual cash retainer for service
10
      as a member of the Audit Committee, in addition to certain grants of equity compensation.
11
            35. The Prospectus stated the following about Defendant Bayne:
12          Katie Bayne has served as a member of our board of directors since October
13          2018. Since February 2019, Ms. Bayne has served as a Senior Advisor with
            Guggenheim Securities, the investment banking and capital markets division
14          of Guggenheim Partners. Since March 2018, Ms. Bayne has also served as
15          founder and President of Bayne Advisors, an advisory firm that helps brands
            and businesses find their strategic identities, drive sustained consumer
16          engagement and innovate for transformative results. Prior to serving in her
17          current roles, from 1989 to 2018, Ms. Bayne served in numerous roles at The
            Coca-Cola Company focused on consumer strategy, retail marketing and
18          consumer marketing in the United States, Australia and globally, most
19          recently serving as the company’s President, North America Brands, from
            2013 to 2015 and Senior Vice President, Global Center, from 2015 to 2018.
20          Ms. Bayne previously served as a member of the board of directors for Ascena
21          Retail Group, Inc., Ann Inc. and Beazer Homes USA. Ms. Bayne currently
            serves as a member of the board of directors for Acreage Holdings, Inc., a
22          publicly traded company. Ms. Bayne is also a member of the board of trustees
23          of the American Film Institute and the Fuqua School of Business at Duke
            University. Ms. Bayne holds a B.A. in Psychology from Duke University and
24          an M.B.A. from Duke University’s Fuqua School of Business. We believe that
25          Ms. Bayne is qualified to serve on our board of directors due to her strong
            background in consumer strategy, retail and consumer marketing and brand
26          management.
27          Defendant Dahnke
28
                                                  9
                             Verified Shareholder Derivative Complaint
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 1
            36.    Defendant Dahnke has served as a Company director since June 2018.
 2
      According to a Form 4 filed by Dahnke with the SEC on May 10, 2021, Defendant Dahnke
 3
      is one of two members of a managing board of the general partner of THC Shared Abacus,
 4
      LP, which sold 19,017,945 shares of the Company’s Common stock on May 7, 2021 at a
 5
      price of $16 per share, for proceeds of $304,287,120. According to the Prospectus, and
 6
      given that the underwriters fully exercised their option to purchase additional shares,
 7
      Defendant Dahnke beneficially owned 12,169,803 shares of the Company after the IPO, or
 8
      13.5% of the Company. Given that the price of the Company’s common stock was $19.08
 9
      when markets closed on May 7, 2021, when the IPO was completed, Defendant Dahnke
10
      beneficially owned approximately $232.20 million worth of Honest stock.
11
            37.    According to the Prospectus, Defendant Dahnke receives a $50,000 annual
12
      cash retainer for service as a non-employee director, in addition to certain grants of equity
13
      compensation.
14
            38. The Prospectus stated the following about Defendant Dahnke:
15         Scott Dahnke has served as a member of our board of directors since June
16         2018. Since January 2016, Mr. Dahnke has served as Co-Chief Executive
           Officer of L Catterton, a consumer-focused private equity firm, after
17         previously serving as Managing Partner from February 2003 to December
18         2015. Prior to joining L Catterton, Mr. Dahnke was Managing Director of
           Deutsche Bank Capital Partners, the former private equity division of Deutsche
19         Bank AG, from 2002 to 2003, and Managing Director of AEA Investors from
20         1998 to 2002. Previously, Mr. Dahnke was Chief Executive Officer of
           infoGROUP (formerly known as Info USA), a provider of data and data-driven
21         marketing services, from 1997 to 1998. Prior to joining infoGROUP,
22         Mr. Dahnke served clients on an array of strategic and operational issues as a
           Partner at McKinsey & Company. Mr. Dahnke’s early career also includes
23         experience in the Merger Department of Goldman, Sachs & Co. and with
24         General Motors. Mr. Dahnke currently serves as a member of the board of
           directors of the following publicly traded companies: Williams-Sonoma, Inc.
25         and Vroom, Inc. Mr. Dahnke is also a member of the board of directors of
26         several private companies. Mr. Dahnke holds a B.S. in Mechanical
           Engineering from the University of Notre Dame and a M.B.A. from Harvard
27         Business School. We believe that Mr. Dahnke is qualified to serve on our board
28         of directors due to his experience in private equity investment and expertise in
                                                   10
                              Verified Shareholder Derivative Complaint
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 1         the ecommerce, retail and consumer products industry, as well as his
 2         experience serving as a director of several companies.
            Defendant Gentile
 3
            39.   Defendant Gentile has served as a Company director since May 4, 2021, the
 4
      effective date of the Registration Statement. She served as Chair of the Audit Committee
 5
      during the Relevant Period.
 6
            40.   According to the Prospectus, Defendant Gentile receives a $50,000 annual
 7
      cash retainer for service as a non-employee director and a $20,000 annual cash retainer for
 8
      service as Chair of the Audit Committee, in addition to certain grants of equity
 9
      compensation.
10
            41. The Prospectus stated the following about Defendant Gentile:
11
           Susan Gentile has served as a member of our board of directors since May
12         2021, effective upon the effectiveness of the registration statement of which
13         this prospectus forms a part. Ms. Gentile is the Chief Financial and
           Administrative Officer at H.I.G. Capital Management, LLC. Prior to joining
14         H.I.G. Capital Management in May 2018, Ms. Gentile served as Managing
15         Director and Chief Accounting Officer at Oaktree Capital Management, a
           global alternative investment firm, from October 2013 to March 2018. Ms.
16         Gentile also held various management roles at The Clorox Company from
17         March 2006 to September 2013. Prior to joining The Clorox Company,
           Ms. Gentile served in roles at Levi Strauss & Co., Motorola, Inc. and Deloitte
18         & Touche LLP. Ms. Gentile holds a B.S.B.A. in Finance from Boston
19         University and is a Certified Public Accountant. We believe that Ms. Gentile
           is qualified to serve on our board of directors due to her financial expertise and
20         experience working with consumer product brands.
21          Defendant Liaw
22          42.   Defendant Liaw has served as a Company director since November 2013. He
23    served as a member of the Audit Committee and the Compensation Committee during the
24    Relevant Period. Defendant Liaw is a General Partner of Institutional Venture Partners
25    XIII, L.P., which sold 1,200,000 Company shares in the IPO for proceeds of $19.2 million
26    and which beneficially owned 11.5% of the Company following the IPO.
27

28
                                                   11
                             Verified Shareholder Derivative Complaint
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 1
            43.    According to the Prospectus, Defendant Liaw receives a $50,000 annual cash
 2
      retainer for service as a non-employee director, a $15,000 annual cash retainer for service
 3
      as a member of the Audit Committee, and a $7,500 annual cash retainer for service as a
 4
      member of the Compensation Committee, in addition to certain grants of equity
 5
      compensation.
 6
            44. The Prospectus stated the following about Defendant Liaw:
 7          Eric Liaw has served as a member of our board of directors since November
 8          2013. Since March 2011, Mr. Liaw has served in several roles at Institutional
            Venture Partners, a venture capital firm, where he currently serves as a
 9          General Partner. From August 2003 to January 2011, Mr. Liaw served in
10          several roles at Technology Crossover Ventures, a venture capital firm,
            including most recently as a Vice President. Mr. Liaw serves on the boards of
11          directors of a number of privately held companies. Mr. Liaw holds an A.B. in
12          Economics, with a minor in Computer Science, and a M.S. in Management
            Science and Engineering from Stanford University. We believe that Mr. Liaw
13          is qualified to serve on our board of directors due his financial and investment
14          expertise, including his particular focus in the growth of startups in the
            internet retail space.
15
            Defendant Liew
16
            45.    Defendant Liew has served as a Company director since September 2011. He
17
      served as a member of the Nominating and Corporate Governance Committee during the
18
      Relevant Period. According to a Form 4 filed by Defendant Liew with the SEC on May 10,
19
      2021, Liew is a director of the general partner of the general partner of Lightspeed Venture
20
      Partners Select, L.P., which sold 82,648 shares of Company common stock on May 7, 2021
21
      in connection with the IPO, for proceeds of $1,322,368. According to the Prospectus, and
22
      given that the underwriters fully exercised their option to purchase additional shares,
23
      Defendant Liew beneficially owned 529,108 shares of the Company after the IPO. Given
24
      that the price of the Company’s common stock was $19.08 when markets closed on May
25
      7, 2021, when the IPO was completed, Defendant Liew beneficially owned approximately
26
      $10.1 million worth of Honest stock.
27

28
                                                  12
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 1
            46.    According to the Prospectus, Defendant Liew receives a $50,000 annual cash
 2
      retainer for service as a non-employee director and a $5,000 annual cash retainer for service
 3
      as a member of the Nominating and Corporate Governance Committee.
 4
            47. The Prospectus stated the following about Defendant Liew:
 5          Jeremy Liew has served as a member of our board of directors since
 6          September 2011. Since March 2006, Mr. Liew has served as a Partner at
            Lightspeed Venture Partners, a venture capital firm. Prior to joining
 7          Lightspeed, Mr. Liew served as a General Manager at Netscape from January
 8          2004 to November 2005, as Senior Vice President of Corporate Development
            and Office of the Chairman at AOL from October 2002 to December 2003
 9          and as VP Strategic Planning at Interactive Corp from June 1999 to October
10          2002. Prior to joining Interactive Corp, Mr. Liew served in roles at CitySearch
            and McKinsey & Co. Mr. Liew currently serves as a member of the board of
11          directors of Affirm Holdings, Inc., a publicly traded company. Mr. Liew
12          graduated with honors with a B.Sc. in Mathematics and a B.A. in Linguistics
            from the Australian National University, and with an M.B.A. from Stanford
13          Business School. We believe that Mr. Liew is qualified to serve on our board
14          of directors due to his extensive technology investment experience and his
            prior experience as an executive.
15
            Defendant Pramanik
16
            48.    Defendant Pramanik has served as a Company director since June 2018. He
17
      served as a member of the Compensation Committee and the Nominating and Corporate
18
      Governance Committee during the Relevant Period. Defendant Pramanik is a Partner at L
19
      Catterton Partners, a consumer-focused private equity firm. THC Shared Abacus, LP, a
20
      fund affiliated with L Catterton Partners, sold 19,017,945 shares of Company common
21
      stock in the IPO for proceeds of $304,287,120.
22
            49.    According to the Prospectus, Defendant Pramanik receives a $50,000 annual
23
      cash retainer for service as a non-employee director, a $7,500 annual cash retainer for
24
      service as a member of the Compensation Committee, and a $5,000 annual cash retainer
25
      for service as a member of the Nominating and Corporate Governance Committee.
26
            50. The Prospectus stated the following about Defendant Pramanik:
27          Avik Pramanik has served as a member of our board of directors since June
28          2018. Mr. Pramanik is a Partner at L Catterton, a consumer-focused private
                                                   13
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 1          equity firm. Prior to joining L Catterton in September 2011, Mr. Pramanik
 2          served as Director of Strategic Development at Alterna Haircare, a prestige
            branded haircare company, from January 2011 to June 2011, as an Associate
 3          at TSG Consumer Partners, a middle-market private equity firm, from July
 4          2009 to June 2011, and as an Analyst at Goldman Sachs, where he worked in
            the Investment Banking Division’s Consumer Products and Retail group and
 5          in the Principal Investment Area, from June 2006 to June 2009. Mr. Pramanik
 6          serves on the boards of directors of a number of privately held companies.
            Mr. Pramanik holds a B.S.B.A. in Finance from Georgetown University. We
 7          believe that Mr. Pramanik is qualified to serve on our board of directors due
 8          to his experience as an investor in high growth consumer product brands and
            knowledge of the beauty, personal care and specialty retail categories.
 9
            Defendant White
10
            51.    Defendant White has served as Chair of the Board since May 4, 2021, the
11
      effective date of the Registration Statement. In addition, he served as Chair of the
12
      Nominating and Corporate Governance Committee during the Relevant Period.
13
            52.    According to the Prospectus, Defendant White receives a $50,000 annual cash
14
      retainer for his service as a non-employee director, a $125,000 annual cash retainer for his
15
      service as the non-executive Chair of the Board, and a $10,000 annual cash retainer for
16
      service as Chair of the Nominating and Corporate Governance Committee, in addition to
17
      certain grants of equity compensation.
18
            53. The Prospectus stated the following about Defendant White:
19          James White has served as Chair of our board of directors since May 2021,
20          effective upon the effectiveness of the registration statement of which this
            prospectus forms a part. From 2008 to 2016, Mr. White served as the
21          Chairman, President and Chief Executive Officer of Jamba Inc. Mr. White
22          also served as Senior Vice President and General Manager of Safeway, Inc.,
            a U.S. supermarket chain, from 2005 to 2008. From 1983 to 2005, Mr. White
23          held management roles at The Gillette Company, Inc., Nestlé S.A. and The
24          Coca-Cola Company. Additionally, Mr. White currently serves on the board
            of directors of the following public companies: Affirm Holdings Inc.,
25          Medallia, Inc., The Simply Good Foods Company and Adtalem Global
26          Education Inc. Mr. White previously served on the board of directors of
            Panera Bread Company, Schnucks Markets, Inc., Bradshaw Home, Inc.,
27          Callidus Software Inc., Daymon Worldwide, Inc., Hillshire Brands Company
28          and Keane Inc. Mr. White’s non-profit board experience includes Directors
                                                  14
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 1          Academy, where he is a founding member and previously served as Board
 2          Chairman, as well as Board Chairman for Fair Trade USA. Mr. White
            previously served on the non-profit boards of the Nasdaq Entrepreneurial
 3          Center, The Organic Center and the Network of Executive Women. Mr. White
 4          received a B.S. degree, with a major in marketing, from The University of
            Missouri and an M.B.A. from Fontbonne University. Mr. White is also a
 5          graduate of the Cornell University Food Executive Program and was a
 6          Stanford University Distinguished Careers Institute Fellow in 2018. We
            believe that Mr. White is qualified to serve on our board of directors due to
 7          his experience as a public company director and his experience as a consumer
 8          products executive.

 9
                  FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

10
            54.    By reason of their positions as officers, directors, and/or fiduciaries of Honest

11
      and because of their ability to control the business and corporate affairs of Honest, the

12
      Individual Defendants owed Honest and its shareholders fiduciary obligations of trust,

13
      loyalty, good faith, and due care, and were and are required to use their utmost ability to

14
      control and manage Honest in a fair, just, honest, and equitable manner. The Individual

15
      Defendants were and are required to act in furtherance of the best interests of Honest and

16
      its shareholders so as to benefit all shareholders equally.

17
            55.    Each director and officer of the Company owes to Honest and its shareholders

18
      the fiduciary duty to exercise good faith and diligence in the administration of the Company

19
      and in the use and preservation of its property and assets and the highest obligations of fair

20
      dealing.

21
            56.    The Individual Defendants, because of their positions of control and authority

22
      as directors and/or officers of Honest, were able to and did, directly and/or indirectly,

23
      exercise control over the wrongful acts complained of herein.

24
            57.    To discharge their duties, the officers, and directors of Honest were required

25
      to exercise reasonable and prudent supervision over the management, policies, controls,

26
      and operations of the Company.

27
            58.    Each Individual Defendant, by virtue of their position as a director and/or

28
      officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty,
                                                    15
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 1
      good faith, and the exercise of due care and diligence in the management and
 2
      administration of the affairs of the Company, as well as in the use and preservation of its
 3
      property and assets. The conduct of the Individual Defendants complained of herein
 4
      involves a knowing and culpable violation of their obligations as directors and officers of
 5
      Honest, the absence of good faith on their part, or a reckless disregard for their duties to
 6
      the Company and its shareholders that the Individual Defendants were aware or should
 7
      have been aware posed a risk of serious injury to the Company. The conduct of the
 8
      Individual Defendants who were also officers and directors of the Company has been
 9
      ratified by the remaining Individual Defendants who collectively comprised Honest’s
10
      Board at all relevant times.
11
            59.    As senior executive officers and/or directors of a publicly-traded company
12
      whose common stock was registered with the SEC pursuant to the Exchange Act and traded
13
      on the NASDAQ, the Individual Defendants had a duty to prevent and not to effect the
14
      dissemination of inaccurate and untruthful information with respect to the Company’s
15
      financial condition, performance, growth, operations, financial statements, business,
16
      products, management, earnings, internal controls, and present and future business
17
      prospects, including the dissemination of false information regarding the Company’s
18
      business, prospects, and operations, and had a duty to cause the Company to disclose in its
19
      regulatory filings with the SEC all those facts described in this Complaint that it failed to
20
      disclose, so that the market price of the Company’s common stock would be based upon
21
      truthful and accurate information. Further, they had a duty to ensure the Company remained
22
      in compliance with all applicable laws.
23
            60.    To discharge their duties, the officers and directors of Honest were required
24
      to exercise reasonable and prudent supervision over the management, policies, practices,
25
      and internal controls of the Company. By virtue of such duties, the officers and directors
26
      of Honest were required to, among other things:
27
                   (a)   ensure that the Company was operated in a diligent, honest, and prudent
28
                                                   16
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 1
      manner in accordance with the laws and regulations of Delaware, California, and the
 2
      United States, and pursuant to Honest’s own Code of Business Conduct and Ethics (the
 3
      “Code of Conduct”);
 4
                   (b)    conduct the affairs of the Company in an efficient, business-like manner
 5
      so as to make it possible to provide the highest quality performance of its business, to avoid
 6
      wasting the Company’s assets, and to maximize the value of the Company’s stock;
 7
                   (c)    remain informed as to how Honest conducted its operations, and, upon
 8
      receipt of notice or information of imprudent or unsound conditions or practices, to make
 9
      reasonable inquiry in connection therewith, and to take steps to correct such conditions or
10
      practices;
11
                   (d)    establish and maintain systematic and accurate records and reports of
12
      the business and internal affairs of Honest and procedures for the reporting of the business
13
      and internal affairs to the Board and to periodically investigate, or cause independent
14
      investigation to be made of, said reports and records;
15
                   (e)    maintain and implement an adequate and functioning system of internal
16
      legal, financial, and management controls, such that Honest’s operations would comply
17
      with all applicable laws and Honest’s financial statements and regulatory filings filed with
18
      the SEC and disseminated to the public and the Company’s shareholders would be
19
      accurate;
20
                   (f)    exercise reasonable control and supervision over the public statements
21
      made by the Company’s officers and employees and any other reports or information that
22
      the Company was required by law to disseminate;
23
                   (g)    refrain from unduly benefiting themselves and other Company insiders
24
      at the expense of the Company; and
25
                   (h)    examine and evaluate any reports of examinations, audits, or other
26
      financial information concerning the financial affairs of the Company and to make full and
27

28
                                                   17
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 1
      accurate disclosure of all material facts concerning, inter alia, each of the subjects and
 2
      duties set forth above.
 3
            61.    Each of the Individual Defendants further owed to Honest and the
 4
      shareholders the duty of loyalty requiring that each favor Honest’s interest and that of its
 5
      shareholders over their own while conducting the affairs of the Company and refrain from
 6
      using their position, influence or knowledge of the affairs of the Company to gain personal
 7
      advantage.
 8
            62.    At all times relevant hereto, the Individual Defendants were the agents of each
 9
      other and of Honest and were at all times acting within the course and scope of such agency.
10
            63.    Because of their advisory, executive, managerial, directorial, and controlling
11
      positions with Honest, each of the Individual Defendants had access to adverse, nonpublic
12
      information about the Company.
13
            64.    The Individual Defendants, because of their positions of control and authority,
14
      were able to and did, directly or indirectly, exercise control over the wrongful acts
15
      complained of herein, as well as the contents of the various public statements issued by
16
      Honest.
17
          CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
18
            65.    In committing the wrongful acts alleged herein, the Individual Defendants
19
      have pursued, or joined in the pursuit of, a common course of conduct, and have acted in
20
      concert with and conspired with one another in furtherance of their wrongdoing. The
21
      Individual Defendants caused the Company to engaged in the Stockpiling Misconduct and
22
      to conceal the true facts as alleged herein. The Individual Defendants further aided and
23
      abetted and/or assisted each other in breaching their respective duties.
24
            66.    The purpose and effect of the conspiracy, common enterprise, and/or common
25
      course of conduct was, among other things, to: (i) facilitate and disguise the Individual
26
      Defendants’ violations of law, including breaches of fiduciary duty, unjust enrichment,
27
      abuse of control, gross mismanagement, and waste of corporate assets; (ii) conceal adverse
28
                                                   18
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 1
      information concerning the Company’s operations, financial condition, legal compliance,
 2
      future business prospects, and internal controls; and (iii) artificially inflate the Company’s
 3
      stock price.
 4
            67.      The Individual Defendants accomplished their conspiracy, common
 5
      enterprise, and/or common course of conduct by causing the Company purposefully or
 6
      recklessly to engage in the Stockpiling Misconduct, conceal material facts, fail to correct
 7
      such misrepresentations, and violate applicable laws. In furtherance of this plan,
 8
      conspiracy, and course of conduct, the Individual Defendants collectively and individually
 9
      took the actions set forth herein. Because the actions described herein occurred under the
10
      authority of the Board, each of the Individual Defendants who is a director of Honest was
11
      a direct, necessary, and substantial participant in the conspiracy, common enterprise, and/or
12
      common course of conduct complained of herein.
13
            68.      Each of the Individual Defendants aided and abetted and rendered substantial
14
      assistance in the wrongs complained of herein. In taking such actions to substantially assist
15
      the commission of the wrongdoing complained of herein, each of the Individual Defendants
16
      acted with actual or constructive knowledge of the primary wrongdoing, either took direct
17
      part in, or substantially assisted in the accomplishment of that wrongdoing, and was or
18
      should have been aware of his overall contribution to and furtherance of the wrongdoing.
19
            69.      At all times relevant hereto, each of the Individual Defendants was the agent
20
      of each of the other Individual Defendants and of Honest, and was at all times acting within
21
      the course and scope of such agency.
22
       THE COMPANY’S CODE OF CONDUCT AND CORPORATE GOVERNANCE
23
            Code of Conduct
24
            70.      Honest’s Code of Conduct states that the Company “is committed to
25
      maintaining the highest standards of business conduct and ethics.” The Code of Conduct
26
      further provides that it “reflects the business practices and principles of behavior that
27
      support this commitment.”
28
                                                    19
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 1
            71.    The Code of Conduct states that it applies to all employees, officers and
 2
      directors:
 3           We expect every employee, officer and director to not only read and
 4           understand the business practices and principles described below, but to also
             apply good judgment and the highest personal ethical standards in making
 5           business decisions. Please remember you should consider not only your own
 6           conduct, but also that of your family members, significant others and other
             people in your household. References in the Code to employees are intended
 7           to cover officers and, as applicable, directors.
 8          72.     In section titled “Honest and Ethical Conduct,” the Code of Conduct provides
 9    as follows:
10           It is our policy to promote high standards of integrity by conducting our affairs
             in an honest and ethical manner. The Company’s integrity and reputation
11           depends on the honesty, fairness and integrity brought to the job by each
12           person associated with us. Unyielding personal integrity and sound judgment
             is the foundation of corporate integrity.
13
            73.     In a section titled “Legal Compliance,” the Code of Conduct provides as
14
      follows:
15          Obeying the law is the foundation of this Code. Our success depends upon
16          each employee operating within legal guidelines and cooperating with local,
            national and international authorities. We expect employees to understand the
17          legal and regulatory requirements applicable to their business units and areas
18          of responsibility. While we do not expect you to memorize every detail of
            these laws, rules and regulations, we want you to be able to determine when
19          to seek advice from others. If you do have a question in the area of legal
20          compliance, it is important that you not hesitate to seek answers from your
            supervisor or the Compliance Officer.
21

22          Violation of domestic or foreign laws, rules and regulations may subject an
            individual, as well as the Company, to civil and/or criminal penalties.
23
            74.    In a section titled “Conflicts of Interest,” the Code of Conduct provides as
24
      follows, in relevant part:
25          We expect our employees, officers and directors to be free from influences that
26          conflict with the best interests of the Company or might deprive the Company of
            their undivided loyalty in business dealings. Even just the appearance of a conflict
27          of interest can be damaging and should be avoided.
28
                                                    20
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 1
            75.    In a section titled “Maintenance of Corporate Books, Records, Documents and
 2
      Accounts; Financial Integrity; Public Reporting,” the Code of Conduct provides as follows
 3
      regarding the integrity of records and public disclosure:
 4          The integrity of our records and public disclosure depends upon the validity,
 5          accuracy and completeness of the information supporting the entries to our
            books of account. Therefore, our corporate and business records should be
 6          completed accurately and honestly. The making of false or misleading entries,
 7          whether they relate to financial results or test results, is strictly prohibited. Our
            records serve as a basis for managing our business and are important in
 8          meeting our obligations to customers, suppliers, creditors, employees and
 9          others with whom we do business. As a result, it is important that our books,
            records and accounts accurately and fairly reflect, in reasonable detail, our
10          assets, liabilities, revenues, costs and expenses, as well as all transactions and
11          changes in assets and liabilities. We require that:
            • no entry be made in our books and records that intentionally hides or
12             disguises the nature of any transaction or of any of our liabilities or
13             misclassifies any transactions as to accounts or accounting periods;
            • transactions be supported by appropriate documentation;
14
            • the terms of sales and other commercial transactions be reflected
15             accurately in the documentation for those transactions and all such
               documentation be reflected accurately in our books and records;
16
            • employees comply with our system of internal controls; and
17          • no cash or other assets be maintained for any purpose in any unrecorded
18
               or “off-the-books” fund.
             76.    In the same section, the Code of Conduct provides as follows regarding the
19
      use of accounting records for the production of reports:
20
             Our accounting records are also relied upon to produce reports for our
21           management, stockholders and creditors, as well as for governmental
22
             agencies. In particular, we rely upon our accounting and other business and
             corporate records in preparing the periodic and current reports that we file
23           with the SEC. Securities laws require that these reports provide full, fair,
24
             accurate, timely and understandable disclosure and fairly present our financial
             condition and results of operations. Employees who collect, provide or
25           analyze information for or otherwise contribute in any way in preparing or
26
             verifying these reports should strive to ensure that our financial disclosure is
             accurate and transparent and that our reports contain all of the information
27           about the Company that would be important to enable stockholders and
28           potential investors to assess the soundness and risks of our business and
                                                     21
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 1          finances and the quality and integrity of our accounting and disclosures. In
 2          addition:
            • no employee may take or authorize any action that would intentionally
 3             cause our financial records or financial disclosure to fail to comply with
 4             generally accepted accounting principles, the rules and regulations of the
               SEC or other applicable laws, rules and regulations;
 5          • all employees must cooperate fully with our Finance and Accounting
 6             Department, as well as our independent public accountants and counsel,
               respond to their questions with candor and provide them with complete
 7             and accurate information to help ensure that our books and records, as well
 8             as our reports filed with the SEC, are accurate and complete; and
            • no employee should knowingly make (or cause or encourage any other
 9
               person to make) any false or misleading statement in any of our reports
10             filed with the SEC or knowingly omit (or cause or encourage any other
               person to omit) any information necessary to make the disclosure in any of
11
               our reports accurate in all material respects.
12          77.   In a section titled “Company Assets,” the Code of Conduct provides as
13    follows:
14          All employees, officers and directors are expected to protect our assets and
            ensure their efficient use. Theft, carelessness and waste have a direct impact
15
            on our profitability. Our property, such as office supplies, computer
16          equipment, buildings and products, are expected to be used only for legitimate
            business purposes, although incidental personal use may be permitted. You
17
            may not, however, use our corporate name, any brand name or trademark
18          owned or associated with the Company or any letterhead stationery for any
            personal purpose.
19
            Audit Committee Charter
20
            78.   The Company’s Audit Committee Charter provides that the purpose of the
21
      Audit Committee is to:
22
            • oversee the Company’s accounting and financial reporting processes,
23            systems of internal control, financial statement audits and the integrity of
              the Company’s financial statements;
24
            • manage the selection, engagement terms, fees, qualifications,
25            independence and performance of the registered public accounting firms
26
              engaged as the Company’s independent outside auditors for the purpose of
              preparing or issuing an audit report or performing audit services (the
27            “Auditors”);
28
                                                  22
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 1          • maintain and foster an open avenue of communication with the Company’s
 2            management, internal audit group (if any) and Auditors;
            • review any reports or disclosures required by applicable law and listing
 3            requirements of the Nasdaq Stock Market (the “Exchange”);
 4          • oversee the design, implementation, organization and performance of the
              Company’s internal audit function (if any);
 5
            • review and approve revisions to the Company’s Investment Policy;
 6          • help the Board oversee the Company’s legal and regulatory compliance,
              including risk assessment; and
 7
            • provide regular reports and information to the Board.
 8
            79.    The Audit Committee Charter provides that the Audit Committee’s
 9
      responsibilities include the review of audited financial statements, including quarterly and
10
      annual reports. Specifically, the Audit Committee Charter provides as follows:
11          The Committee will review the annual audited financial statements, the
12
            quarterly financial statements and the Company’s “Management’s Discussion
            and Analysis of Financial Condition and Results of Operations” and “Risk
13          Factors,” as appropriate, with management and the Auditors. The Committee
14
            will be responsible for recommending to the Board whether the proposed
            annual audited financial statements should be included in the Company’s
15          Annual Report on Form 10-K.
16          80.    The Audit Committee Charter further provides that the Audit Committee’s
17    responsibilities include the review of earnings announcements, as follows:
18
            The Committee will review and discuss with management and the Auditors
            any proposed earnings press releases and other financial information and
19          guidance regarding the Company’s results of operations provided publicly or
20
            to analysts and ratings agencies (including, without limitation, reviewing any
            pro forma or non-GAAP information).
21
            81.    In a section titled “Internal Control and Procedures,” the Audit Committee
22
      Charter provides that the Audit Committee’s responsibilities include risk assessment and
23
      management:
24         The Committee will review and discuss with management and the Auditors
25         the Company’s processes and policies on risk identification, management and
           assessment in all areas of the Company’s business, but the Board shall
26         continue to have overall responsibility for evaluating key business risks faced
27         by the Company, including but not limited to information security and
           cybersecurity, competition and regulation. Areas of focus for the Committee
28
                                                  23
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 1          shall include the Company’s policies and other matters relating to the
 2          Company’s investments, cash management and foreign exchange
            management, major financial risk exposures, the adequacy and effectiveness
 3          of the Company’s information security policies and practices and the internal
 4          controls regarding information security and the steps taken by management to
            monitor and mitigate or otherwise control these exposures and to identify
 5          future risks. The Committee will review and discuss with management the
 6          adequacy of the Company’s insurance programs, including director and
            officer insurance, product liability insurance and general liability insurance.
 7
            82.    In a section titled “Internal Auditors,” the Audit Committee Charter reveals
 8
      that the Company has no internal audit function, and provides that review of any future
 9
      internal audit function will be the responsibility of the Audit Committee, as follows:
10           The Company does not currently have an Internal Audit function. If an
11           internal audit function is established and becomes operational, the Committee
             will review the audit plan of the Company’s internal audit team and discuss
12           with that team the adequacy and effectiveness of the Company’s scope,
13           staffing and general audit approach. The Committee will review any
             significant reports prepared by the Company’s internal auditors, as well as
14           management’s response. The head of the internal auditors will also report to
15           and be evaluated by the Committee.

16
      (Emphasis added.)
            83.    In a section titled “Internal Control over Financial Reporting; Disclosure
17
      Controls,” the Audit Committee Charter provides as follows:
18
            The Committee will confer with management and the Auditors concerning the
19          scope, design, adequacy and effectiveness of internal control over financial
20
            reporting and the Company’s disclosure controls and procedures. The
            Committee will review reports on significant findings and recommendations
21          with respect to internal controls over financial reporting, together with
22          management responses and any special audit steps adopted in light of any
            material control deficiencies.
23
            84.    In violation of the Code of Conduct, the Audit Committee Charter, and the
24
      Company’s corporate governance documents, the Individual Defendants conducted little,
25
      if any, oversight of the Individual Defendants’ scheme to issue materially false and
26
      misleading statements to the public and to facilitate and disguise the Individual
27
      Defendants’ violations of law, including but not limited to breaches of fiduciary duty,
28
                                                  24
                             Verified Shareholder Derivative Complaint
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 1
      unjust enrichment, abuse of control, gross mismanagement, waste of corporate assets, and
 2
      the aiding and abetting thereof. Also in violation of the Company’s corporate governance
 3
      documents, the Individual Defendants failed to maintain the accuracy of Company records
 4
      and reports, comply with laws and regulations, conduct business in an honest and ethical
 5
      manner, and properly report violations of the Code of Conduct. Furthermore, the Individual
 6
      Defendants failed to maintain internal controls, including by failing to establish an internal
 7
      audit function.
 8
                         INDIVIDUAL DEFENDANTS’ MISCONDUCT
 9
            Background
10
            85.    Honest is a consumer products company with its principal executive offices
11
      in Los Angeles. The Company describes itself as “a digitally-native, mission-driven brand
12
      focused on leading the clean lifestyle movement, creating a community for conscious
13
      consumers and seeking to disrupt multiple consumer product categories.”
14
            86.     The Company’s three product categories are Diapers and Wipes, Skin and
15
      Personal Care, and Household and Wellness, which represented 63%, 26% and 11% of our
16
      2020 revenue, respectively.
17
            87.    Due to the COVID-19 pandemic, the Company experienced increased
18
      demand for its sanitization products. In response to this demand, the Company accelerated
19
      the development timeline for certain product launches, and it launched new disinfecting
20
      spray and alcohol wipe products in 2020.
21
            88.    Despite widespread news coverage of consumer stockpiling behavior in
22
      2020, 2 and despite knowing that the related surge of demand for the Company’s products
23
      would lead to consumers and customers stockpiling its products, the Individual Defendants
24
      caused the Company to engage in the Stockpiling Misconduct.
25

26

27
      2
       https://www.washingtonpost.com/national/coronavirus-toilet-paper-shortage-
      panic/2020/04/07/1fd30e92-75b5-11ea-87da-77a8136c1a6d_story.html (last visited
28    November 23, 2021).
                                                   25
                              Verified Shareholder Derivative Complaint
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 1
                89.      Moreover, the Individual Defendants made or caused the Company to make
 2
      false and misleading statements concerning the Stockpiling Misconduct, consumer stock-
 3
      up purchases, and the effects of the foregoing on the Company’s financial prospects and
 4
      health.
 5
                Stockpiling Misconduct
 6
                90.      The COVID-19 pandemic has had far-reaching consequences across the
 7
      globe, including by killing millions, severely affecting many others, and disrupting a wide
 8
      swath of economic activity.
 9
                91.      The onset of the pandemic led to significant “panic buying,” in which
10
      consumers would stockpile goods, including food and personal care items. 3 Pandemic-
11
      fueled panic buying has extended to products related to containment or mitigation of
12
      COVID-19.4
13
                92.      To protect against SARS CoV-2, the virus that causes COVID-19, the U.S.
14
      Environmental Protection Agency has recommended that the public engage in “surface
15
      cleaning” as one component of a larger strategy to contain the virus, which is spread via
16
      airborne particles and droplets.5
17
                93.      In response to increased demand for sanitization products, Honest accelerated
18
      its development timeline for certain product launches, launching a disinfecting spray and
19
      alcohol wipes in 2020.
20
                94.      The Company’s products became subject to stock-up behaviors. During the
21
      three months ended June 30, 2020, the Company experienced an estimated $3.7 million
22
      COVID-19 stock-up impact primarily in its Diapers and Wipes product category.
23

24

25    3
          https://www.bbc.com/worklife/article/20200304-coronavirus-covid-19-update-why-people-are-stockpiling   (last visited
26    November 23, 2021).
      4
          https://www.bloomberg.com/news/articles/2020-03-04/-hamster-buying-depletes-supermarket-shelves-on-virus-fears
27
      (last visited November 23, 2021).
28    5
          https://www.epa.gov/coronavirus/indoor-air-and-coronavirus-covid-19   (last visited November 23, 2021).
                                                                  26
                                      Verified Shareholder Derivative Complaint
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 1
            95.     Consumer and retail stockpiling caused a significant near-term surge in
 2
      demand for the Company’s products, which would necessarily lessen future demand for
 3
      the Company’s products. Nevertheless, the Company engaged in the Stockpiling
 4
      Misconduct in anticipation of future growth. Specifically, and as disclosed in filings with
 5
      the SEC, the Company has “taken measures to bolster key aspects of its supply chain, such
 6
      as . . . ensuring sufficient inventory to support our continued growth in the face of the
 7
      pandemic.” (Emphasis added.)
 8
            96.     The Stockpiling Misconduct resulted in the Company experiencing a $5.7
 9
      million increase in inventory for the six months ended June 30, 2020, which the Company
10
      attributed to the “timing of inventory purchases.”
11
            97.     While the Individual Defendants were causing the Company to engage in the
12
      Stockpiling Misconduct, consumer demand for sanitizing and disinfecting products was
13
      decelerating.
14
            2021 Dividend
15
            98.     While demand for the Company’s products was decelerating and the
16
      Company was engaging in the Stockpiling Misconduct, the Board approved a massive
17
      payout to insiders prior to the Company going public.
18
            99.     Specifically, in April 2021, the Board declared a cash dividend of $35 million
19
      to the holders of record of the Company’s common stock and its redeemable convertible
20
      preferred stock as of May 3, 2021, contingent upon the closing of the IPO and payable no
21
      later than June 30, 2021 (the “2021 Dividend”). Defendants Bayne, Dahnke, Liaw, Liew,
22
      Pramanik, Vlahos, and Warren served as Company directors when the Board approved the
23
      2021 Dividend.
24
            100. According to the Prospectus, the following amounts were payable to the
25
      following related parties pursuant to the 2021 Dividend:
26
                  (a) $13,108,764 to THC Shared Abacus, LP, a fund which beneficially owned
27
                    37.1% of the Company before the IPO and 13.5% of the Company following
28
                                                   27
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 1
                   the IPO and which is affiliated with L Catterton Partners, of which Defendant
 2
                   Dahnke is co-CEO and Defendant Pramanik is a partner;
 3
                (b) $4,853,915 to Institutional Venture Partners XIII, L.P., which beneficially
 4
                   owned 13.8% of the Company before the IPO and 11.5% of the Company
 5
                   following the IPO and of which Defendant Liaw is a General Partner;
 6
                (c) $4,293,952 to entities affiliated with Lightspeed Venture Partners—
 7
                   Defendant Liew is a director of Lightspeed Ultimate General Partner Select,
 8
                   Ltd., the general partner of the general partner of Lightspeed Venture Partners
 9
                   Select, L.P.;
10
                (d) $3,242,899 to entities affiliated with Fidelity, which beneficially owned
11
                   12.2% of the Company before the IPO and 8.7% afterward;
12
                (e) $2,633,660 to entities affiliated with Defendant Warren, who beneficially
13
                   owned 6.6% of the Company before the IPO and 6.2% afterward;
14
                (f) $1,781,494 to entities affiliated with General Catalyst, which beneficially
15
                   owned 9.4% of the Company before the IPO and 8.7% afterwards; and
16
                (g) $35,107 to Nikolaos and Angela Vlahos 2006 Trust, over which Defendant
17
                   Vlahos and his wife share voting and investment power as trustees.
18
            101. Thus, Defendants Dahnke, Liaw, Liew, Pramanik, Vlahos, and Warren used
19
      their positions as members of the Board to cause the Company to pay handsome dividends
20
      to themselves or to their affiliated entities.
21
            102. The 2021 Dividend totaling $35 million, of which $20.6 million was paid to
22
      holders of the Company’s redeemable convertible preferred stock, was paid on June 29,
23
      2021, or during the Company’s fiscal quarter ended June 30, 2021. During the same fiscal
24
      quarter, the Company reported net loss of $20 million.
25
            May 2021 IPO
26
            103. In early 2021, the Individual Defendants began taking steps to take Honest
27
      public. On January 29, 2021, the Company filed a draft registration statement on Form
28
                                                       28
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 1
      DRS with the SEC. On April 9, 2021, the Company filed its Form S-1, which was
 2
      subsequently amended. On April 26, 2021, the Company filed with the SEC its final
 3
      amendment to the Form S-1 on Form S-1/A. On May 4, 2021, the SEC declared the
 4
      Registration Statement effective. The Company then filed the Prospectus on May 6, 2021.
 5
            104. The Company’s stock began trading publicly on May 5, 2021. Through the
 6
      IPO, the Company sold 6,451,613 shares and certain existing stockholders sold an
 7
      aggregate of 19,355,387 shares, for a total offering of 25,807,000 shares. The IPO’s
 8
      underwriters would also fully exercise their options to purchase an additional 3,871,050
 9
      from the selling stockholders, within thirty days of the IPO. The Company received
10
      aggregate net proceeds of approximately $91.1 million after deducting underwriting
11
      discounts and commissions, as well as other offering expenses. According to the
12
      Prospectus, the net proceeds received from the IPO were to be used for “general corporate
13
      purposes,” which “include operating expenses, working capital and capital expenditures
14
      for future growth, including marketing and direct-to-consumer advertising investments,
15
      innovation and adjacent product category expansion, international growth investment and
16
      organizational capabilities investments.” The Prospectus also asserted that: “We may also
17
      use a portion of the net proceeds to acquire complementary businesses, products, services
18
      or technologies.”
19
            105. The IPO, which netted the Company $91.1 million in proceeds, was complete
20
      on May 7, 2021.
21
            106. On June 29, 2021, the Company paid the 2021 Dividend in the amount of $35
22
      million to holders of the Company’s common stock and redeemable convertible preferred
23
      stock as of May 3, 2021, or just days prior to the IPO.
24
            Disclosure Requirements
25
            107. SEC Regulation S-K imposes certain affirmative disclosure requirements on
26
      public companies, such as Honest, with respect to their finances and operations.
27
      Specifically, Item 303(b)(2)(i) required Honest to:
28
                                                  29
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 1          Describe any unusual or infrequent events or transactions or any significant
 2          economic changes that materially affected the amount of reported income
            from continuing operations and, in each case, indicate the extent to which
 3          income was so affected. In addition, describe any other significant
 4          components of revenues or expenses that, in the registrant’s judgment, would
            be material to an understanding of the registrant’s results of operations.
 5
            108. Item 303(b)(2)(ii) required Honest to:
 6          Describe any known trends or uncertainties that have had or that are
 7          reasonably likely to have a material favorable or unfavorable impact on net
            sales or revenues or income from continuing operations. If the registrant
 8          knows of events that are reasonably likely to cause a material change in the
 9          relationship between costs and revenues (such as known or reasonably likely
            future increases in costs of labor or materials or price increases or inventory
10          adjustments), the change in the relationship must be disclosed.
11          109. Additionally, Item 105 of Regulation S-K required the Individual Defendants
12    to provide “a discussion of the material factors that make an investment in the registrant or
13    offering speculative or risky.”
14          110. Even after the IPO was effectuated, the Individual Defendants had a duty to
15    disclose pursuant to Item 303 of Regulation S-K, which requires that all Form 10-Qs and
16    10-Ks filed with the SEC include a section on “[m]anagement’s discussion and analysis of
17    financial condition and results of operations” that includes, inter alia: (1) “any unusual or
18    infrequent events or transactions or any significant economic changes that materially
19    affected the amount of reported income from continuing operations,” (2) “any known
20    trends or uncertainties that have had or that are reasonably likely to have a material
21    favorable or unfavorable impact on net sales or revenues or income from continuing
22    operations,” (3) “descriptions and amounts of matters that have had a material impact on
23    reported operations,” and (4) “matters that are reasonably likely based on management's
24    assessment to have a material impact on future operations.”
25          111. Therefore, the Individual Defendants had a duty throughout the Relevant
26    Period to cause the Company to disclose all material facts related to: (1) stockpiling of the
27    Company’s products; (2) the Company’s engagement in the Stockpiling Misconduct; (3)
28
                                                   30
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 1
      deceleration of demand for the Company’s products; (4) impacts of the foregoing on the
 2
      Company’s financial results; and (5) the Company’s failure to maintain adequate internal
 3
      controls.
 4
            False and Misleading Statements Made in Connection with the IPO
 5
            112. The Registration Statement stated the following regarding the Company’s past
 6
      performance and financial results:
 7
           As we have executed against our Innovation Strategy, we have been successful
 8
           in reinvigorating growth, improving product mix, significantly enhancing our
 9         gross margin profile and turning profitable on an adjusted EBITDA basis. We
           have achieved the following financial results:
10
            • From 2018 to 2020, we grew revenue by a 12% compound annual growth
11             rate, or CAGR, from $237.9 million to $300.5 million, with only a slight
               decline in 2019 as we offset declines from Non-Core Products;
12
            • We achieved 27.6% year-over-year revenue growth in 2020, recording
13             year-over-year revenue growth rates of 16.4%, 35.5%, and 116.5% in our
               Diapers and Wipes, Skin and Personal Care and Household and Wellness
14
               categories, respectively;
15          • We also increased gross margin by 1,080 basis points from 25.1% in 2018
               to 35.9% in 2020, by driving growth in higher-margin products and
16
               channels, leveraging our strategic relationships with retailers, gaining
17             leverage on fixed costs in fulfillment, as well as executing on accretive
               product innovation; and
18
            • In 2020, we reported a net loss of $14.5 million and adjusted EBITDA of
19             $11.2 million, or 4% of revenue.
20          113. The Registration Statement also stated the following regarding macro-level
21    consumer trends: “[c]hanges in macro-level consumer spending trends, including as a
22    result of the COVID-19 pandemic, could result in fluctuations in our operating results.”
23    (Emphasis added.)
24          114. The Registration Statement also stated the following regarding the impact of
25    COVID-19:
          The COVID-19 pandemic has caused general business disruption worldwide
26
          beginning in January 2020. The full extent to which the COVID-19 pandemic
27        will directly or indirectly impact our cash flow, business, financial condition,
28
                                                  31
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 1          results of operations and prospects will depend on future developments that
 2          are uncertain.

 3          As a result of the COVID-19 pandemic, we temporarily closed our
 4          headquarters, supported our employees and contractors to work remotely, and
            implemented travel restrictions. These actions represented a significant
 5          change in how we operated our business, but we believe that we successfully
 6          navigated this transition. In an effort to provide a safe work environment for
            our employees, we have implemented various social distancing measures,
 7          including replacing in-person meetings with virtual interactions. We will
 8          continue to take actions as may be required or recommended by government
            authorities or as we determine are in the best interests of our employees and
 9          other business partners in light of the pandemic.
10
            We have experienced relatively minor impacts on our inventory availability
11          and delivery capacity since the outbreak, none of which has materially
12          impacted our ability to service our consumers and retail and third-party
            ecommerce customers. We have taken measures to bolster key aspects of our
13          supply chain, such as securing secondary suppliers and ensuring sufficient
14          inventory to support our continued growth in the face of the pandemic. We
            continue to work with our existing manufacturing, logistics and other supply
15          chain partners to ensure our ability to service our consumers and retail and
16          third-party ecommerce customers.
17          We believe COVID-19 has been one of the drivers of demand in our Digital
18          channel as consumers have shifted to online shopping amid the pandemic.
            Additionally, our Household and Wellness product category has benefitted
19          from increasing demand for sanitization products. We accelerated our
20          development timeline for certain product launches, launching our
            disinfecting spray and alcohol wipes in 2020. There is no assurance that we
21          will continue to experience such increases in demand. We may see a decline
22          in use of online shopping and demand for sanitization products when
            the COVID-19 pandemic subsides.
23

24          The operations of our retail partners, manufacturers and suppliers have also
            been impacted by the COVID-19 pandemic. While the duration and extent of
25          the COVID-19 pandemic depends on future developments that cannot be
26          accurately predicted at this time, it has already had an adverse effect on the
            global economy and the ultimate societal and economic impact of
27          the COVID-19 pandemic remains unknown. In particular, the conditions
28          caused by this pandemic may negatively impact collections of accounts
                                                 32
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 1           receivable and reduce expected spending from new consumers, all of which
 2           could adversely affect our business, financial condition, results of operations
             and prospects during fiscal 2021 and potentially future periods.
 3
      (Emphasis added.)
 4
             115.   The Registration Statement was materially false and misleading, and failed
 5
      to disclose material facts necessary to make the statements not false and misleading.
 6
      Specifically, the Individual Defendants improperly failed to disclose, inter alia, that: (1)
 7
      the Company’s financial results were significantly impacted by stockpiling of the
 8
      Company’s products; (2) despite the negative implications of consumer and customer
 9
      stockpiling behavior on the Company’s future sales, the Company engaged in the
10
      Stockpiling Misconduct to support growth that was not reasonably likely to materialize;
11
      (3) the Company was experiencing decelerating demand for its products; (4) as a result of
12
      the foregoing, the Company’s financial results were likely to be adversely impacted; and
13
      (5) the Company failed to maintain adequate internal controls.
14
             False and Misleading Statements Made During the Relevant Period
15
             May 6, 2021 Prospectus
16
             116. On May 6, 2021, the Company filed the Prospectus with the SEC. The
17
      Prospectus stated the following regarding the Company’s past performance and financial
18
      results:
19
            As we have executed against our Innovation Strategy, we have been successful
20
            in reinvigorating growth, improving product mix, significantly enhancing our
21          gross margin profile and turning profitable on an adjusted EBITDA basis. We
            have achieved the following financial results:
22
             • From 2018 to 2020, we grew revenue by a 12% compound annual growth
23              rate, or CAGR, from $237.9 million to $300.5 million, with only a slight
                decline in 2019 as we offset declines from Non-Core Products;
24
             • We achieved 27.6% year-over-year revenue growth in 2020, recording
25              year-over-year revenue growth rates of 16.4%, 35.5%, and 116.5% in our
                Diapers and Wipes, Skin and Personal Care and Household and Wellness
26
                categories, respectively;
27           • We also increased gross margin by 1,080 basis points from 25.1% in 2018
                to 35.9% in 2020, by driving growth in higher-margin products and
28
                                                   33
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 1            channels, leveraging our strategic relationships with retailers, gaining
 2            leverage on fixed costs in fulfillment, as well as executing on accretive
              product innovation; and
 3          • In 2020, we reported a net loss of $14.5 million and adjusted EBITDA of
 4            $11.2 million, or 4% of revenue.
            117. The Prospectus also stated the following regarding macro-level consumer
 5
      trends: “[c]hanges in macro-level consumer spending trends, including as a result of
 6
      the COVID-19 pandemic, could result in fluctuations in our operating results.” (Emphasis
 7
      added.)
 8
            118. The Prospectus also stated the following regarding the impact of COVID-19:
 9
            The COVID-19 pandemic has caused general business disruption worldwide
10          beginning in January 2020. The full extent to which the COVID-19 pandemic
11          will directly or indirectly impact our cash flow, business, financial condition,
            results of operations and prospects will depend on future developments that
12          are uncertain.
13
            As a result of the COVID-19 pandemic, we temporarily closed our
14          headquarters, supported our employees and contractors to work remotely, and
15          implemented travel restrictions. These actions represented a significant
            change in how we operated our business, but we believe that we successfully
16          navigated this transition. In an effort to provide a safe work environment for
17          our employees, we have implemented various social distancing measures,
            including replacing in-person meetings with virtual interactions. We will
18          continue to take actions as may be required or recommended by government
19          authorities or as we determine are in the best interests of our employees and
            other business partners in light of the pandemic.
20

21          We have experienced relatively minor impacts on our inventory availability
            and delivery capacity since the outbreak, none of which has materially
22          impacted our ability to service our consumers and retail and third-party
23          ecommerce customers. We have taken measures to bolster key aspects of our
            supply chain, such as securing secondary suppliers and ensuring sufficient
24          inventory to support our continued growth in the face of the pandemic. We
25          continue to work with our existing manufacturing, logistics and other supply
            chain partners to ensure our ability to service our consumers and retail and
26          third-party ecommerce customers.
27

28
                                                 34
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 1          We believe COVID-19 has been one of the drivers of demand in our Digital
 2          channel as consumers have shifted to online shopping amid the pandemic.
            Additionally, our Household and Wellness product category has benefitted
 3          from increasing demand for sanitization products. We accelerated our
 4          development timeline for certain product launches, launching our
            disinfecting spray and alcohol wipes in 2020. There is no assurance that we
 5          will continue to experience such increases in demand. We may see a decline
 6          in use of online shopping and demand for sanitization products when
            the COVID-19 pandemic subsides.
 7

 8          The operations of our retail partners, manufacturers and suppliers have also
            been impacted by the COVID-19 pandemic. While the duration and extent of
 9          the COVID-19 pandemic depends on future developments that cannot be
10          accurately predicted at this time, it has already had an adverse effect on the
            global economy and the ultimate societal and economic impact of
11          the COVID-19 pandemic remains unknown. In particular, the conditions
12          caused by this pandemic may negatively impact collections of accounts
            receivable and reduce expected spending from new consumers, all of which
13          could adversely affect our business, financial condition, results of operations
14          and prospects during fiscal 2021 and potentially future periods.

15    (Emphasis added.)

16          June 17, 2021 Quarterly Report

17          119. On June 17, 2021, the Company filed its quarterly report with the SEC on

18    Form 10-Q for the fiscal quarter ended March 31, 2021 (the “1Q21 10-Q”). It was signed

19    by Defendants Vlahos and Kennedy and contained certifications signed by Defendants

20    Vlahos and Kennedy pursuant to Rules 13a-14(a) and 15d-14(a) promulgated under the

21    Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) attesting to the accuracy of

22    the financial statements contained in the 1Q21 10-Q, the disclosure of any material changes

23    to the Company’s internal controls, and the disclosure of any fraud committed by the

24    Company, its officers, or its directors.

25          120. The 1Q21 10-Q stated the following regarding macro-level consumer trends:

26    “[c]hanges in macro-level consumer spending trends, including as a result of the

27    COVID­19 pandemic, could result in fluctuations in our operating results.”

28          121. The 1Q21 10-Q also stated the following regarding the impact of COVID-19:
                                                  35
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 1          The COVID-19 pandemic has caused general business disruption worldwide
 2          beginning in January 2020. The full extent to which the COVID-19 pandemic
            will directly or indirectly impact our cash flow, business, financial condition,
 3          results of operations and prospects will depend on future developments that
 4          are uncertain.

 5          As a result of the COVID-19 pandemic, our headquarters is temporarily
 6          closed as we support our employees and contractors to work remotely. We
            have also implemented travel restrictions. These actions represent a
 7          significant change in how we operate our business, but we believe that we
 8          successfully navigated this transition. In an effort to provide a safe work
            environment for our employees, we have implemented various social
 9          distancing measures, including replacing many in-person meetings with
10          virtual interactions. We will continue to take actions as may be required or
            recommended by government or health authorities or as we determine are in
11          the best interests of our employees and other business partners in light of the
12          pandemic.

13          We have experienced relatively minor impacts on our inventory availability
14          and delivery capacity since the outbreak, none of which has materially
            impacted our ability to service our consumers and retail and third-party
15          ecommerce customers. We have taken measures to bolster key aspects of our
16          supply chain, such as securing secondary suppliers and ensuring sufficient
            inventory to support our continued growth in the face of the pandemic. We
17          continue to work with our existing manufacturing, logistics and other
18          supply chain partners to ensure our ability to service our consumers and
            retail and third-party ecommerce customers.
19

20          We believe COVID-19 has been one of the drivers of demand in our Digital
            channel as consumers shifted to online shopping amid the pandemic.
21          Additionally, our Household and Wellness product category has benefited
22          from increasing demand for sanitization products. We accelerated our
            development timeline for certain product launches, launching our
23          disinfecting spray and alcohol wipes in 2020. We have seen increased
24          consumer willingness to return to in-store shopping as the economy opens
            and more of the population is vaccinated. This has driven a channel shift
25          and demand acceleration driving revenue growth within our Retail channel
26          in 2021.
27          The operations of our retail partners, manufacturers and suppliers have also
28          been impacted by the COVID-19 pandemic. While the duration and extent of
                                                  36
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 1          the COVID-19 pandemic depends on future developments that cannot be
 2          accurately predicted at this time, it has already had an adverse effect on the
            global economy and the ultimate societal and economic impact of the COVID-
 3          19 pandemic remains unknown. In particular, the conditions caused by this
 4          pandemic may negatively impact collections of accounts receivable and
            reduce expected spending from new consumers, all of which could adversely
 5          affect our business, financial condition, results of operations and prospects
 6          during fiscal 2021 and potentially future periods.
      (Emphasis added.)
 7
            122. The 1Q21 10-Q stated the following regarding the Company’s evaluation of
 8
      disclosure controls and procedures:
 9
            We maintain “disclosure controls and procedures,” as defined in Rules 13a-
10          15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended,
11
            or the Exchange Act, that are designed to ensure that information required to
            be disclosed in the reports that we file or submit under the Exchange Act is
12          (1) recorded, processed, summarized and reported, within the time periods
13
            specified in the SEC’s rules and forms and (2) accumulated and
            communicated to our management, including our principal executive officer
14          and principal financial officer, to allow timely decisions regarding required
15
            disclosure. Our management, with the participation of our Chief Executive
            Officer and Chief Financial Officer, evaluated, as of the period ended
16          March 31, 2021, the effectiveness of our disclosure controls and procedures
17
            (as defined in Rules 13a-15(e) and 15d-15(e) under the Exchange Act). Based
            on that evaluation, our principal executive officer and principal financial
18          officer concluded that, as of such date, our disclosure controls and
19          procedures were effective at the reasonable assurance level.
      (Emphasis added.)
20
            123. The 1Q21 10-Q also stated the following regarding limitations on
21
      effectiveness of controls and procedures:
22
             In designing and evaluating our disclosure controls and procedures,
23           management recognizes that any controls and procedures, no matter how well
24           designed and operated, can provide only reasonable assurance of achieving
             the desired control objectives. In addition, the design of disclosure controls
25           and procedures must reflect the fact that there are resource constraints and that
26           management is required to apply judgment in evaluating the benefits of
             possible controls and procedures relative to their costs.
27

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 1
            124. The Prospectus and 1Q21 10-Q were materially false and misleading, and
 2
      failed to disclose material facts necessary to make the statements not false and misleading.
 3
      Specifically, the Individual Defendants improperly failed to disclose, inter alia, that: (1)
 4
      the Company’s financial results were significantly impacted by stockpiling of the
 5
      Company’s products; (2) despite the negative implications of consumer and customer
 6
      stockpiling behavior on the Company’s future sales, the Company engaged in the
 7
      Stockpiling Misconduct to support growth that was not reasonably likely to materialize;
 8
      (3) the Company was experiencing decelerating demand for its products; (4) as a result of
 9
      the foregoing, the Company’s financial results were likely to be adversely impacted; and
10
      (5) the Company failed to maintain adequate internal controls. As a result, Honest’s public
11
      statements were materially false and misleading at all relevant times.
12
                                         The Truth Emerges
13
            125. The truth emerged August 13, 2021 before the market opened, when the
14
      Company issued a press release reporting financial results for the fiscal quarter and the six-
15
      month period ended June 30, 2021.
16
            126. In the press release, the Company reported a net loss of $20 million for the
17
      second quarter of 2021, compared to net loss of $0.4 million during the second quarter of
18
      2020. The Company reported that revenue growth in the second quarter of 2021 was only
19
      $2.2 million, or 3%. It also reported that revenue in the Diapers and Wipes product category
20
      declined 2% as compared to the second quarter of 2020.
21
            127. With respect to the Household and Wellness revenue, the Company disclosed
22
      that “revenue declined 6% from the second quarter of 2020 as consumer and customer
23
      demand for sanitization products decreased as consumers became vaccinated and
24
      customers managed heavy levels of inventory.” Furthermore, the Company stated that
25
      “Household and Wellness [revenue] declined 31% as compared to the second quarter of
26
      2019 as we simplified the product portfolio while discontinuing certain non-core products
27
      that did not align with our revamped product strategy.”
28
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 1
            128. The press release stated as follows, in relevant part:
 2          LOS ANGELES, Aug. 13, 2021 (GLOBE NEWSWIRE) -- The Honest
 3          Company (NASDAQ: HNST), a digitally native, mission-driven brand
            focused on leading the clean lifestyle movement, reported second quarter
 4          2021 financial results for the three and six months ended June 30, 2021.
 5
            “The underlying strength and financial performance of our overall business
 6          for the first half of 2021 reflects the ongoing success of our strategic initiatives
 7          focused on Content, Community, Commerce, and our powerful innovation
            and category expansion,” said Nick Vlahos, Chief Executive Officer of The
 8          Honest Company. “For the first half of 2021, we were pleased to deliver 8%
 9          revenue and volume growth on top of the accelerated COVID stock-up surge
            of 25% revenue growth that we saw in the first half of 2020 as compared to
10          the first half of 2019. We also exceeded our gross margin expectations for the
11          overall business in the first half of 2021, showing the strength of our business
            at a time when our entire industry faced a challenging input cost, inventory
12          and supply chain environment.”
13
            Vlahos continued, “During the second quarter we saw positive consumer
14          response to our new Clean Conscious Diaper and marketing innovation with
15          over 17% retail consumption growth for Honest’s Diapers, Wipes and
            Personal Care products as measured by syndicated data for the thirteen-weeks
16          ended June 27, 2021. This growth is on top of the significant COVID-19
17          stock-up we experienced in the Diapers and Wipes category in 2020. As we
            look to the remainder of the year, we continue to have confidence in our three
18          year strategic plan, Strategy 2023, and are focused on executing with
19          excellence to deliver shareholder value over the long-term and solidify
            Honest’s position as the next generation, modern CPG company.”
20

21          Second Quarter Highlights
            • Revenue grew 3% from the second quarter of 2020; excluding an
22             estimated $3.7 million COVID-19 stock-up impact primarily in Diapers
23             and Wipes in the prior year period, revenue growth was 9%[]:
               o Skin and Personal Care revenue increased 16% from the second
24
                   quarter of 2020 and increased 39% as compared to the second quarter
25                 of 2019.
               o Diapers and Wipes declined 2% as compared to the second quarter of
26
                   2020 with mid-single digit growth in diapers offset by the 2020
27                 COVID-19 stock-up impact in the prior year period. Diapers and Wipes
                   grew 17% as compared to the second quarter of 2019.
28
                                                    39
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 1            o Household and Wellness revenue declined 6% from the second quarter
 2                of 2020 as consumer and customer demand for sanitization products
                  decreased as consumers became vaccinated and customers managed
 3                heavy levels of inventory. Household and Wellness declined 31% as
 4                compared to the second quarter of 2019 as we simplified the product
                  portfolio while discontinuing certain non-core products that did not
 5                align with our revamped product strategy.
 6          • Gross margin was 36% representing a decrease of 50 basis points from
              the second quarter of 2020 and expansion of 710 basis points from the
 7            second quarter of 2019; notably, gross margin expanded 110 basis points
 8            from the first quarter of 2021; the gross margin decline from the second
              quarter of 2020 was driven by more normalized levels of trade spend; the
 9            expansion in gross margin versus the second quarter of 2019 and the first
10            quarter of 2021 was driven in part by our cost savings and product mix
              initiatives
11          • Net loss was $20.0 million (including one-time IPO related costs and other
12            transaction-related expenses) and adjusted EBITDA was a loss of $0.8
              million for the second quarter of 2021
13
            129. On this news, the Company’s share price fell $3.98, or 28%, to close at $10.07
14
      per share on August 13, 2021. On August 19, 2021, the Company’s share price closed at
15
      an $9.16 per share. Thus, the Company’s stock price declined nearly 43% from the IPO
16
      price per share of $16.00.
17
                                     DAMAGES TO HONEST
18
            130. As a direct and proximate result of the Individual Defendants’ misconduct,
19
      Honest has lost and will continue to lose and expend many millions of dollars.
20
            131. Such expenditures include, but are not limited to, fees associated with the
21
      Securities Class Actions filed against the Company and the Class Action Defendants, and
22
      any internal investigations, and amounts paid to outside lawyers, accountants, and
23
      investigators in connection thereto.
24
            132. Such expenditures further include the costs associated with the Stockpiling
25
      Misconduct, including but not limited to costs associated with the Company’s $5.7 million
26
      increase in inventory for the six months ended June 30, 2021.
27

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 1
            133. Such expenditures further include payments on or around June 29, 2021 under
 2
      the 2021 Dividend, which totaled $35 million, and of which approximately $25 million
 3
      went to entities affiliated with Defendants Dahnke, Liaw, Liew, Pramanik, Vlahos, and
 4
      Warren.
 5
            134. Such expenditures further include bonuses paid related to preparation for the
 6
      IPO that triggered upon the closing of the IPO.
 7
            135. Additionally, these expenditures include, but are not limited to, lavish
 8
      compensation, benefits, and other payments provided to the Individual Defendants who
 9
      breached their fiduciary duties to the Company.
10
            136. As a direct and proximate result of the Individual Defendants’ conduct,
11
      Honest has also suffered and will continue to suffer a loss of reputation and goodwill, and
12
      a “liar’s discount” that will plague the Company’s stock in the future due to the Company’s
13
      and their misrepresentations and the Individual Defendants’ breaches of fiduciary duties
14
      and unjust enrichment.
15
                                  DERIVATIVE ALLEGATIONS
16
            137. Plaintiff brings this action derivatively and for the benefit of Honest to redress
17
      injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of
18
      their fiduciary duties as directors and/or officers of Honest, unjust enrichment, abuse of
19
      control, gross mismanagement, waste of corporate assets, the aiding and abetting thereof,
20
      as well as for contribution under Section 11(f) of the Securities Act and 21D of the
21
      Exchange Act.
22
            138. Honest is named solely as a nominal party in this action. This is not a collusive
23
      action to confer jurisdiction on this Court that it would not otherwise have.
24
            139. Plaintiff is, and has been at all relevant times, a shareholder of Honest.
25
      Plaintiff will adequately and fairly represent the interests of Honest in enforcing and
26
      prosecuting its rights, and, to that end, has retained competent counsel, experienced in
27
      derivative litigation, to enforce and prosecute this action.
28
                                                    41
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 1
                               DEMAND FUTILITY ALLEGATIONS
 2
            140. Plaintiff incorporates by reference and realleges each and every allegation
 3
      stated above as if fully set forth herein.
 4
            141. A pre-suit demand on the Board of Honest is futile and, therefore, excused.
 5
      At the time of filing of this action, the Board consists of the following nine individuals:
 6
      Defendants Vlahos, Bayne, Dahnke, Gentile, Liaw, Liew, Pramanik, Warren, and White
 7
      (collectively, the “Directors”). Plaintiff needs only to allege demand futility as to five of
 8
      the nine Directors who are on the Board at the time this action is commenced.
 9
            142. Demand is excused as to all of the Directors because each one of them faces,
10
      individually and collectively, a substantial likelihood of liability as a result of the scheme
11
      they engaged in knowingly or recklessly to make and/or cause the Company to make false
12
      and misleading statements and omissions of material facts and to engage in the Stockpiling
13
      Misconduct, which renders them unable to impartially investigate the charges and decide
14
      whether to pursue action against themselves and the other perpetrators of the scheme.
15
            143. In complete abdication of their fiduciary duties, the Directors either
16
      knowingly or recklessly participated in the foregoing scheme to cause the Company to
17
      make false and misleading statements and to engage in the Stockpiling Misconduct.
18
      Throughout the Relevant Period, the Directors failed to correct the false and misleading
19
      statements, despite their affirmative obligation to do so. The fraudulent scheme was
20
      intended to make the Company appear more profitable and attractive to investors.
21
      Moreover, the Directors caused the Company to fail to maintain internal controls, and
22
      failed to establish an internal audit function. As a result of the foregoing, the Directors
23
      breached their fiduciary duties, face a substantial likelihood of liability, are not
24
      disinterested, and demand upon them is futile, and thus excused.
25
            144. Additional reasons that demand on Defendant Vlahos is futile follow.
26
      Defendant Vlahos has served as the Company’s CEO and as a Company director since
27
      March 2017. Thus, as the Company admits, he is a non-independent director. As CEO
28
                                                   42
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 1
      during the Relevant Period, Defendant Vlahos was ultimately responsible for all of the
 2
      false and misleading statements and omissions that were made during the Relevant Period,
 3
      including those contained in the 1Q21 10-Q, which he personally signed and for which he
 4
      signed SOX certifications. Moreover, Defendant Vlahos signed, and thus personally made,
 5
      the false and misleading statements contained in the Registration Statement. As CEO, the
 6
      Company provides Defendant Vlahos with his principal occupation for which he receives
 7
      handsome compensation, including a base salary of $825,000 in 2021. Thus, he cannot
 8
      disinterestedly consider a demand to sue the directors that control his continued
 9
      employment, other members of management with whom he worked or still works, and
10
      himself. Moreover, Defendant Vlahos is named as a defendant in the Securities Class
11
      Actions. As the Company’s highest officer and as a trusted Company director, he
12
      conducted little, if any, oversight of the scheme to cause the Company to make false and
13
      misleading statements and to engage in the Stockpiling Misconduct, consciously
14
      disregarded his duties to monitor such controls over reporting and engagement in the
15
      scheme described herein, and consciously disregarded his duties to protect corporate assets.
16
      In addition, during the Relevant Period he failed to correct the false and misleading
17
      statements. For these reasons, Defendant Vlahos breached his fiduciary duties, faces a
18
      substantial likelihood of liability, is not independent or disinterested, and thus demand
19
      upon him is futile and, therefore, excused.
20
            145. Additional reasons that demand on Defendant Bayne is futile follow.
21
      Defendant Bayne has served as a Company director since October 2018, and was Chair of
22
      the Compensation Committee and a member of the Audit Committee during the Relevant
23
      Period. She receives significant compensation from the Company for her services on the
24
      Board and its committees. Defendant Bayne signed, and thus personally made, the false
25
      and misleading statements contained in the Registration Statement. In addition, Defendant
26
      Bayne is a Senior Advisor of Guggenheim Securities. Guggenheim Securities, LLC served
27
      as an underwriter for the IPO and is named as a defendant in one of the Securities Class
28
                                                    43
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 1
      Actions. Thus, due to her employment by an entity involved in the misconduct, Defendant
 2
      Bayne is precluded from acting independently and in the best interests of the Company and
 3
      its shareholders, as any action she might take to investigate the misconduct could implicate
 4
      her employer, posing a risk to her continued employment with the same. As a trusted
 5
      Company director, Defendant Bayne conducted little, if any, oversight of the scheme to
 6
      cause the Company to make false and misleading statements and to engage in the
 7
      Stockpiling Misconduct, consciously disregarded her duties to monitor such controls over
 8
      reporting and engagement in the scheme described herein, and consciously disregarded her
 9
      duties to protect corporate assets. In addition, she failed to correct the false and misleading
10
      statements throughout the Relevant Period. For these reasons, Defendant Bayne breached
11
      her fiduciary duties, faces a substantial likelihood of liability, is not independent or
12
      disinterested, and thus demand upon her is futile and, therefore, excused.
13
            146. Additional reasons that demand on Defendant Dahnke is futile follow.
14
      Defendant Dahnke has served as a Company director since June 2018. He receives
15
      significant compensation from the Company for his service on the Board. Moreover,
16
      Defendant Dahnke is one of two members of a managing board of the general partner of
17
      THC Shared Abacus, LP, which sold 19,017,945 shares of the Company’s Common stock
18
      on May 7, 2021 at a price of $16 per share, for proceeds of $304,287,120. Thus, Defendant
19
      Liew directly benefitted from the scheme described herein, which was intended to make
20
      the Company appear more profitable and attractive to investors, including around the time
21
      of the IPO. Defendant Dahnke signed, and thus personally made, the false and misleading
22
      statements contained in the Registration Statement. As a trusted director, he conducted
23
      little, if any, oversight of the scheme to cause the Company to make false and misleading
24
      statements and to engage in the Stockpiling Misconduct, consciously disregarded his duties
25
      to monitor such controls over reporting and engagement in the scheme described herein,
26
      and consciously disregarded his duties to protect corporate assets. In addition, he failed to
27
      correct the false and misleading statements throughout the Relevant Period. For these
28
                                                    44
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 1
      reasons, Defendant Dahnke breached his fiduciary duties, faces a substantial likelihood of
 2
      liability, is not independent or disinterested, and thus demand upon him is futile and,
 3
      therefore, excused.
 4
            147. Additional reasons that demand on Defendant Gentile is futile follow.
 5
      Defendant Gentile has served as a Company since May 4, 2021, and she served as Chair
 6
      of the Audit Committee during the Relevant Period. Defendant Gentile is entitled to
 7
      significant compensation for her role at the Company. As a trusted director, she conducted
 8
      little, if any, oversight of the scheme to cause the Company to make false and misleading
 9
      statements and to engage in the Stockpiling Misconduct, consciously disregarded her duties
10
      to monitor such controls over reporting and engagement in the scheme described herein,
11
      and consciously disregarded her duties to protect corporate assets. In addition, she failed
12
      to correct the false and misleading statements throughout the Relevant Period. For these
13
      reasons, Defendant Gentile breached her fiduciary duties, faces a substantial likelihood of
14
      liability, is not independent or disinterested, and thus demand upon her is futile and,
15
      therefore, excused.
16
            148. Additional reasons that demand on Defendant Liaw is futile follow. Defendant
17
      Liaw has served as a Company director since November 2013. He served as a member of
18
      the Audit Committee and the Compensation Committee during the Relevant Period.
19
      Defendant Liaw is a General Partner of Institutional Venture Partners XIII, L.P., which
20
      sold 1,200,000 Company shares in the IPO for proceeds of $19.2 million and which
21
      beneficially owned 11.5% of the Company following the IPO. Defendant Liaw is entitled
22
      to significant compensation for his role at the Company. As a trusted Company director,
23
      he conducted little, if any, oversight of the scheme to cause the Company to make false
24
      and misleading statements and to engage in the Stockpiling Misconduct, consciously
25
      disregarded his duties to monitor such controls over reporting and engagement in the
26
      scheme described herein, and consciously disregarded his duties to protect corporate assets.
27
      In addition, he failed to correct the false and misleading statements throughout the Relevant
28
                                                   45
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 1
      Period. For these reasons, Defendant Liaw breached his fiduciary duties, faces a substantial
 2
      likelihood of liability, is not independent or disinterested, and thus demand upon him is
 3
      futile and, therefore, excused.
 4
            149. Additional reasons that demand on Defendant Liew is futile follow. Defendant
 5
      Liew has served as a Company director since September 2011. He served as a member of
 6
      the Nominating and Corporate Governance Committee during the Relevant Period.
 7
      Defendant Liew is entitled to significant compensation for his role at the Company. In
 8
      addition, Defendant Liew is a director of the general partner of the general partner of
 9
      Lightspeed Venture Partners Select, L.P., which sold 82,648 shares of Company common
10
      stock on May 7, 2021 in connection with the IPO, for proceeds of $1,322,368. Thus,
11
      Defendant Liew benefitted from the scheme described herein, which was intended to make
12
      the Company appear more profitable and attractive to investors, including around the time
13
      of the IPO. As a trusted Company director, he conducted little, if any, oversight of the
14
      scheme to cause the Company to make false and misleading statements and to engage in
15
      the Stockpiling Misconduct, consciously disregarded his duties to monitor such controls
16
      over reporting and engagement in the scheme described herein, and consciously
17
      disregarded his duties to protect corporate assets. In addition, he failed to correct the false
18
      and misleading statements throughout the Relevant Period. For these reasons, Defendant
19
      Liew breached his fiduciary duties, faces a substantial likelihood of liability, is not
20
      independent or disinterested, and thus demand upon him is futile and, therefore, excused.
21
            150. Additional reasons that demand on Defendant Pramanik is futile follow.
22
      Defendant Pramanik has served as a Company director since June 2018. He served as a
23
      member of the Compensation Committee and the Nominating and Corporate Governance
24
      Committee during the Relevant Period. Defendant Pramanik is entitled to significant
25
      compensation for his role at the Company. Defendant Pramanik is a Partner at L Catterton,
26
      a consumer-focused private equity firm that is affiliated with THC Shared Abacus, LP, a
27
      fund which sold 19,017,945 shares of Company common stock in the IPO for proceeds of
28
                                                    46
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 1
      $304,287,120. As a trusted Company director, Defendant Pramanik conducted little, if any,
 2
      oversight of the scheme to cause the Company to make false and misleading statements
 3
      and to engage in the Stockpiling Misconduct, consciously disregarded his duties to monitor
 4
      such controls over reporting and engagement in the scheme described herein, and
 5
      consciously disregarded his duties to protect corporate assets. In addition, he failed to
 6
      correct the false and misleading statements throughout the Relevant Period. For these
 7
      reasons, Defendant Pramanik breached his fiduciary duties, faces a substantial likelihood
 8
      of liability, is not independent or disinterested, and thus demand upon him is futile and,
 9
      therefore, excused.
10
            151. Additional reasons that demand on Defendant Warren is futile follow.
11
      Defendant Warren founded the Company in 2011. She currently serves as CCO and as a
12
      director, and was formerly Chair of the Board. Defendant Warren is entitled to significant
13
      compensation for her role at the Company, including a base salary of $600,000. Thus, as
14
      the Company admits, she is a non-independent director. As founder and director of the
15
      Company, she conducted little, if any, oversight of the scheme to cause the Company to
16
      make false and misleading statements and to engage in the Stockpiling Misconduct,
17
      consciously disregarded her duties to monitor such controls over reporting and engagement
18
      in the scheme described herein, and consciously disregarded her duties to protect corporate
19
      assets. In addition, she failed to correct the false and misleading statements throughout the
20
      Relevant Period. For these reasons, Defendant Warren breached her fiduciary duties, faces
21
      a substantial likelihood of liability, is not independent or disinterested, and thus demand
22
      upon her is futile and, therefore, excused.
23
            152. Additional reasons that demand on Defendant White is futile follow.
24
      Defendant White has served as Chair of the Board since May 4, 2021. In addition, he served
25
      as Chair of the Nominating and Corporate Governance Committee during the Relevant
26
      Period. Defendant White is entitled to significant compensation for his role at the
27
      Company. As a trusted Company director, he conducted little, if any, oversight of the
28
                                                    47
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 1
      scheme to cause the Company to make false and misleading statements and to engage in
 2
      the Stockpiling Misconduct, consciously disregarded his duties to monitor such controls
 3
      over reporting and engagement in the scheme described herein, and consciously
 4
      disregarded his duties to protect corporate assets. In addition, he failed to correct the false
 5
      and misleading statements throughout the Relevant Period. For these reasons, Defendant
 6
      White breached his fiduciary duties, faces a substantial likelihood of liability, is not
 7
      independent or disinterested, and thus demand upon him is futile and, therefore, excused.
 8
            153. Additional reasons that demand on the Board is futile follow.
 9
            154. The Directors have longstanding business and personal relationships with
10
      each other and the Individual Defendants that preclude them from acting independently
11
      and in the best interests of the Company and the shareholders. For instance, Defendant
12
      Pramanik is a partner and Defendant Dahnke is co-CEO of L Catterton Partners. THC
13
      Shared Abacus, LP, which sold $304,287,120 of Company common stock in the IPO and
14
      which beneficially owned 13.5% of the Company following the IPO, is a fund affiliated
15
      with L Catterton Partners. Due to their business relationships through L Catterton Partners
16
      and its affiliate, Defendants Pramanik and Dahnke are unlikely to investigate one another
17
      or any other individuals or entities that sold Company common stock in connection with
18
      the IPO. In addition, two of the Directors worked in senior positions at The Clorox
19
      Company (“Clorox”). Defendant Gentile held various management roles at Clorox from
20
      March 2006 to September 2013, including Vice President – Controller & Chief Accounting
21
      Officer. Defendant Vlahos joined Clorox in 1995 and held numerous roles within that
22
      company before serving at subsidiaries of Clorox and then again at Clorox. Specifically,
23
      Vlahos served as Vice President – General Manager, Burt’s Bees from April 2011 to
24
      February 2013 and Vice President – General Manager, Laundry, Brita and Green Works
25
      from March 2009 to February 2011. Vlahos later served as Executive Vice President and
26
      Chief Operating Officer – Household, Lifestyle and Core Global Functions of Clorox.
27
      These conflicts of interest precluded the Directors from adequately monitoring the
28
                                                    48
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 1
      Company’s operations and internal controls and calling into question the Individual
 2
      Defendants’ conduct. Thus, demand upon the Directors would be futile.
 3
            155. In April 2021, prior to the IPO, the Board declared the 2021 Dividend, a cash
 4
      dividend of $35 million to the holders of record of its common stock and redeemable
 5
      convertible preferred stock as of May 3, 2021. The 2021 Dividend was paid on June 29,
 6
      2021, with $20.6 million of the total being paid to holders of the Company’s redeemable
 7
      convertible preferred stock. Defendants Bayne, Dahnke, Liaw, Liew, Pramanik, Vlahos,
 8
      and Warren served as Company directors when the Board approved the 2021 Dividend.
 9
      According to the Prospectus, the following amounts were payable to the following related
10
      parties pursuant to the 2021 Dividend: (1) $13,108,764 to THC Shared Abacus, LP, a fund
11
      which beneficially owned 37.1% of the Company before the IPO and 13.5% of the
12
      Company following the IPO and which is affiliated with L Catterton Partners, of which
13
      Defendant Dahnke is co-CEO and Defendant Pramanik is a partner; (2) $4,853,915 to
14
      Institutional Venture Partners XIII, L.P., which beneficially owned 13.8% of the Company
15
      before the IPO and 11.5% of the Company following the IPO and of which Defendant Liaw
16
      is a General Partner; (3) $4,293,952 to entities affiliated with Lightspeed Venture
17
      Partners—Defendant Liew is a director of the general partner of the general partner of
18
      Lightspeed Venture Partners Select, L.P.; (4) $3,242,899 to entities affiliated with Fidelity,
19
      which owned 12.2% of the Company before the IPO and 8.7% afterward; (5) $2,633,660
20
      to entities affiliated with Defendant Warren, who owned 6.6% of the Company before the
21
      IPO and 6.2% afterward; (6) $1,781,494 to entities affiliated with General Catalyst, which
22
      which owned 9.4% of the Company before the IPO and 8.7% afterwards; and (7) $35,107
23
      to Nikolaos and Angela Vlahos 2006 Trust, over which Defendant Vlahos and his wife
24
      share voting and investment power as trustees. Thus, Defendants Dahnke, Liaw, Liew,
25
      Pramanik, Vlahos, and Warren used their positions as members of the Board to cause the
26
      Company to pay dividends to themselves or to their affiliated entities amounting to almost
27
      $25 million, even as the Company suffered a net loss of $20 million in the second quarter
28
                                                   49
                              Verified Shareholder Derivative Complaint
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 1
      of 2021, when sales were decelerating and the Individual Defendants were causing the
 2
      Company to issue false and misleading statements concerning its business, operations, and
 3
      prospects. Defendants Bayne, Dahnke, Liaw, Liew, Pramanik, Vlahos, and Warren are
 4
      therefore directly implicated in the unjust enrichment of Defendants Dahnke, Liaw, Liew,
 5
      Pramanik, Vlahos, and Warren, who themselves received payments or whose affiliated
 6
      entities profited from the payment of the 2021 Dividend. Accordingly, Defendant Bayne’s,
 7
      Dahnke’s, Liaw’s, Liew’s, Pramanik’s, Vlahos’s, and Warren’s misconduct in causing the
 8
      Company to pay the 2021 Dividend precludes them from independently and disinterestedly
 9
      investigating the misconduct alleged herein. Moreover, the 2021 Dividend was paid on
10
      June 29, 2021, when all nine Directors served on the Board. Accordingly, demand upon
11
      the Board is futile and, therefore, excused
12
            156. Defendants Gentile, Bayne, and Liaw (the “Audit Committee Defendants”)
13
      served as members of the Audit Committee at all relevant times, with Defendant Gentile
14
      serving as Chair. The Audit Committee Defendants are responsible for overseeing, among
15
      other things, the quality and integrity of the Company’s financial statements, the
16
      Company’s legal and regulatory compliance, the Company’s system of internal controls,
17
      and the implementation of the Company’s internal audit function. The Audit Committee
18
      Defendants failed to ensure the integrity of the Company’s financial statements and internal
19
      controls and failed to ensure compliance with laws and regulations as they are charged to
20
      do. Moreover, the Audit Committee Defendants failed to implement an internal audit
21
      function which, according to the Company’s Audit Committee Charter, the Company still
22
      lacks as of the date of the filing of this verified shareholder derivative complaint. In
23
      addition, the Audit Committee Defendants’ failure to ensure that adequate internal controls
24
      were in place caused the Company to engage in the Stockpiling Misconduct, to issue false
25
      and misleading financial statements to investors, and to file a false and misleading quarterly
26
      report with the SEC. Thus, the Audit Committee Defendants breached their fiduciary
27
      duties, are not disinterested, and demand is excused as to them.
28
                                                    50
                              Verified Shareholder Derivative Complaint
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 1
            157. In violation of the Code of Conduct, the Directors conducted little, if any,
 2
      oversight of the Company’s engagement in the Individual Defendants’ scheme to issue
 3
      materially false and misleading statements to the public and to facilitate and disguise the
 4
      Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust
 5
      enrichment, abuse of control, gross mismanagement, and waste of corporate assets. In
 6
      further violation of the Code of Conduct, the Directors failed to comply with laws and
 7
      regulations, maintain the accuracy of Company records and reports, avoid conflicts of
 8
      interest, conduct business in an honest and ethical manner, and properly report violations
 9
      of the Code of Conduct. Thus, the Directors face a substantial likelihood of liability and
10
      demand is futile as to them.
11
            158. Honest has been and will continue to be exposed to significant losses due to
12
      the wrongdoing complained of herein, yet the Directors have not filed any lawsuits against
13
      the Individual Defendants or others who were responsible for that wrongful conduct to
14
      attempt to recover for Honest any part of the damages Honest suffered and will continue
15
      to suffer thereby. Thus, any demand upon the Directors would be futile.
16
            159. The Individual Defendants’ conduct described herein and summarized above
17
      could not have been the product of legitimate business judgment as it was based on bad
18
      faith and intentional, reckless, or disloyal misconduct. Thus, none of the Directors can
19
      claim exculpation from their violations of duty pursuant to the Company’s charter (to the
20
      extent such a provision exists). As a majority of the Directors face a substantial likelihood
21
      of liability, they are self-interested in the transactions challenged herein and cannot be
22
      presumed to be capable of exercising independent and disinterested judgment about
23
      whether to pursue this action on behalf of the shareholders of the Company. Accordingly,
24
      demand is excused as being futile.
25
            160. The acts complained of herein constitute violations of fiduciary duties owed
26
      by Honest’s officers and directors, and these acts are incapable of ratification.
27

28
                                                   51
                              Verified Shareholder Derivative Complaint
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 1
             161. The Directors may also be protected against personal liability for their acts of
 2
      mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’
 3
      liability insurance if they caused the Company to purchase it for their protection with
 4
      corporate funds, i.e., monies belonging to the stockholders of Honest. If there is a directors’
 5
      and officers’ liability insurance policy covering the Directors, it may contain provisions
 6
      that eliminate coverage for any action brought directly by the Company against the
 7
      Directors, known as, inter alia, the “insured-versus-insured exclusion.” As a result, if the
 8
      Directors were to sue themselves or certain of the officers of Honest, there would be no
 9
      directors’ and officers’ insurance protection. Accordingly, the Directors cannot be
10
      expected to bring such a suit. On the other hand, if the suit is brought derivatively, as this
11
      action is brought, such insurance coverage, if such an insurance policy exists, will provide
12
      a basis for the Company to effectuate a recovery. Thus, demand on the Directors is futile
13
      and, therefore, excused.
14
             162. If there is no directors’ and officers’ liability insurance, then the Directors will
15
      not cause Honest to sue the Individual Defendants named herein, since, if they did, they
16
      would face a large uninsured individual liability. Accordingly, demand is futile in that
17
      event, as well.
18
             163. Thus, for all of the reasons set forth above, all of the Directors, and, if not all
19
      of them, at least five of the Directors, cannot consider a demand with disinterestedness and
20
      independence. Consequently, a demand upon the Board is excused as futile.
21
                                             FIRST CLAIM
22
                 Against the Individual Defendants for Breach of Fiduciary Duties
23
             164. Plaintiff incorporates by reference and realleges each and every allegation set
24
      forth above, as though fully set forth herein.
25
             165. Each Individual Defendant owed to the Company the duty to exercise candor,
26
      good faith, and loyalty in the management and administration of Honest’s business and
27
      affairs.
28
                                                    52
                              Verified Shareholder Derivative Complaint
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 1
            166. Each of the Individual Defendants violated and breached his fiduciary duties
 2
      of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
 3
            167. The Individual Defendants’ conduct set forth herein was due to their
 4
      intentional or reckless breach of the fiduciary duties they owed to the Company, as alleged
 5
      herein. The Individual Defendants intentionally or recklessly breached or disregarded their
 6
      fiduciary duties to protect the rights and interests of Honest.
 7
            168. In breach of their fiduciary duties owed to Honest, the Individual Defendants
 8
      willfully or recklessly made and/or caused the Company to make false and/or misleading
 9
      statements and/or omissions of material fact that failed to disclose, inter alia, that: (1) the
10
      Company’s financial results were significantly impacted by stockpiling of the Company’s
11
      products; (2) despite the negative implications of consumer and customer stockpiling
12
      behavior on the Company’s future sales, the Company engaged in the Stockpiling
13
      Misconduct to support growth that was not reasonably likely to materialize; (3) the
14
      Company was experiencing decelerating demand for its products; (4) as a result of the
15
      foregoing, the Company’s financial results were likely to be adversely impacted; and (5)
16
      the Company failed to maintain adequate internal controls. As a result of the foregoing,
17
      Honest’s public statements were materially false and misleading at all relevant times.
18
            169. In addition to making the false and misleading statements in connection with
19
      the Company’s IPO, the Individual Defendants made the false and misleading statements
20
      during the Relevant Period. Moreover, throughout the Relevant Period, the Individual
21
      Defendants failed to correct and/or caused the Company to fail to correct the false and/or
22
      misleading statements and/or omissions of material fact, which renders them personally
23
      liable to the Company for breaching their fiduciary duties.
24
            170. In further breach of their fiduciary duties, the Individual Defendants caused
25
      the Company to engage in the Stockpiling Misconduct.
26

27

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                                                    53
                              Verified Shareholder Derivative Complaint
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 1
            171. Also in breach of their fiduciary duties, the Individual Defendants caused the
 2
      Company to fail to maintain internal controls, including by failing to establish an internal
 3
      audit function.
 4
            172. The Individual Defendants had actual or constructive knowledge that the
 5
      Company issued materially false and misleading statements, and they failed to correct the
 6
      Company’s public statements and representations. The Individual Defendants had actual
 7
      knowledge of the misrepresentations and omissions of material facts set forth herein, or
 8
      acted with reckless disregard for the truth, in that they failed to ascertain and to disclose
 9
      such facts, even though such facts were available to them. Such material misrepresentations
10
      and omissions were committed knowingly or recklessly and for the purpose and effect of
11
      artificially inflating the price of Honest’s securities.
12
            173. The Individual Defendants had actual or constructive knowledge that they had
13
      caused the Company to improperly engage in the fraudulent scheme set forth herein and to
14
      fail to maintain internal controls. The Individual Defendants had actual knowledge that the
15
      Company was engaging in the fraudulent scheme set forth herein, and that internal controls
16
      were not adequately maintained, or acted with reckless disregard for the truth, in that they
17
      caused the Company to improperly engage in the fraudulent scheme and to fail to maintain
18
      adequate internal controls, even though such facts were available to them. Such improper
19
      conduct was committed knowingly or recklessly and for the purpose and effect of
20
      artificially inflating the price of Honest’s securities. The Individual Defendants, in good
21
      faith, should have taken appropriate action to correct the scheme alleged herein and to
22
      prevent it from continuing to occur.
23
            174. These actions were not a good-faith exercise of prudent business judgment to
24
      protect and promote the Company’s corporate interests.
25
            175. As a direct and proximate result of the Individual Defendants’ breaches of
26
      their fiduciary obligations, Honest has sustained and continues to sustain significant
27

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                                                     54
                               Verified Shareholder Derivative Complaint
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 1
      damages. As a result of the misconduct alleged herein, the Individual Defendants are liable
 2
      to the Company.
 3
            176. Plaintiff on behalf of Honest has no adequate remedy at law.
 4
                                          SECOND CLAIM
 5
                        Against Individual Defendants for Unjust Enrichment
 6
            177. Plaintiff incorporates by reference and realleges each and every allegation set
 7
      forth above, as though fully set forth herein.
 8
            178. By their wrongful acts, violations of law, and false and misleading statements
 9
      and omissions of material fact that they made and/or caused to be made, the Individual
10
      Defendants were unjustly enriched at the expense of, and to the detriment of, Honest.
11
            179. The Individual Defendants either benefitted financially from the improper
12
      conduct, or received bonuses, stock options, or similar compensation from Honest that was
13
      tied to the performance or artificially inflated valuation of Honest, or received
14
      compensation or other payments that were unjust in light of the Individual Defendants’ bad
15
      faith conduct. This includes proceeds from the sales of the Company’s securities in
16
      connection with the IPO, when the Company’s share price was artificially inflated. This
17
      also includes compensation resulting from the $35 million 2021 Dividend payable to
18
      holders of the Company’s common stock and redeemable convertible preferred stock as of
19
      May 3, 2021, which was paid on June 29, 2021. This further includes bonuses paid related
20
      to preparation for the IPO that triggered upon the closing of the IPO. Additionally, this
21
      includes lavish compensation, benefits, and other payments provided to the Individual
22
      Defendants who breached their fiduciary duties to the Company.
23
            180. Plaintiff, as a shareholder and a representative of Honest, seeks restitution
24
      from the Individual Defendants and seeks an order from this Court disgorging all profits,
25
      including from insider transactions, the 2021 Dividend, the redemption of preferred stock,
26
      benefits, and other compensation, including any performance-based or valuation-based
27

28
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                              Verified Shareholder Derivative Complaint
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 1
      compensation, obtained by the Individual Defendants due to their wrongful conduct and
 2
      breach of their fiduciary and contractual duties.
 3
            181. Plaintiff on behalf of Honest has no adequate remedy at law.
 4
                                           THIRD CLAIM
 5
                        Against Individual Defendants for Abuse of Control
 6
            182. Plaintiff incorporates by reference and realleges each and every allegation set
 7
      forth above, as though fully set forth herein.
 8
            183. The Individual Defendants’ misconduct alleged herein constituted an abuse of
 9
      their ability to control and influence Honest, for which they are legally responsible.
10
            184. As a direct and proximate result of the Individual Defendants’ abuse of
11
      control, Honest has sustained significant damages. As a result of the misconduct alleged
12
      herein, the Individual Defendants are liable to the Company.
13
            185. Plaintiff on behalf of Honest has no adequate remedy at law.
14
                                          FOURTH CLAIM
15
                    Against Individual Defendants for Gross Mismanagement
16
            186. Plaintiff incorporates by reference and realleges each and every allegation set
17
      forth above, as though fully set forth herein.
18
            187. By their actions alleged herein, the Individual Defendants, either directly or
19
      through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary
20
      duties with regard to prudently managing the assets and business of Honest in a manner
21
      consistent with the operations of a publicly-held corporation.
22
            188. As a direct and proximate result of the Individual Defendants’ gross
23
      mismanagement and breaches of duty alleged herein, Honest has sustained and will
24
      continue to sustain significant damages.
25
            189. As a result of the misconduct and breaches of duty alleged herein, the
26
      Individual Defendants are liable to the Company.
27
            190. Plaintiff on behalf of Honest has no adequate remedy at law.
28
                                                   56
                              Verified Shareholder Derivative Complaint
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 1
                                            FIFTH CLAIM
 2
                  Against Individual Defendants for Waste of Corporate Assets
 3
             191. Plaintiff incorporates by reference and realleges each and every allegation set
 4
      forth above, as though fully set forth herein.
 5
             192. The Individual Defendants caused the Company to engage in the Stockpiling
 6
      Misconduct and to pay the Individual Defendants excessive salaries and fees, to the
 7
      detriment of the shareholders and the Company.
 8
             193. As a result of the foregoing, and by failing to properly consider the interests
 9
      of the Company and its public shareholders, the Individual Defendants have caused Honest
10
      to waste valuable corporate assets, including by stockpiling an additional $5.7 million in
11
      inventory and related costs and by paying the 2021 Dividend, and have caused the
12
      Company to incur many millions of dollars of legal liability and/or costs to defend unlawful
13
      actions, to engage in internal investigations, and to lose financing from investors and
14
      business from future customers who no longer trust the Company and its products.
15
             194. As a result of the waste of corporate assets, the Individual Defendants are each
16
      liable to the Company.
17
             195. Plaintiff on behalf of Honest has no adequate remedy at law.
18
                                         SIXTH CLAIM
19                   Against the Class Action Defendants for Contribution
20            Under Section 11(f) of the Securities Act and 21D of the Exchange Act
             196. Plaintiff incorporates by reference and realleges each and every allegation set
21
      forth above, as though fully set forth herein.
22
             197. As a result of the conduct and events alleged above, the Company is a
23
      defendant in the Securities Class Actions brought on behalf of Honest shareholders, in
24
      which it is a joint tortfeasor in claims brought under Sections 11 and 15 of the Securities
25
      Act.
26
             198. Federal law provides Honest with a cause of action against other alleged joint
27
      tortfeasors under Section 11(f) of the Securities Act.
28
                                                   57
                               Verified Shareholder Derivative Complaint
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 1
            199. The plaintiffs in the Securities Class Actions allege that the Registration
 2
      Statement—including its amendments—and the Prospectus contained untrue statements of
 3
      material facts or omitted to state other facts necessary to make the statements made not
 4
      misleading, and omitted to state material facts required to be stated therein.
 5
            200. Honest is the registrant for the IPO. The Class Action Defendants were
 6
      responsible for the contents and dissemination of the Registration Statement and
 7
      Prospectus.
 8
            201. As issuer of the shares, Honest is strictly liable to the class action plaintiffs
 9
      and the class for the misstatements and omissions.
10
            202. The plaintiffs in the Securities Class Actions allege that none of the defendants
11
      named therein made a reasonable investigation or possessed reasonable grounds for the
12
      belief that the statements contained in the Registration Statement and Prospectus were true
13
      and without omissions of any material facts and were not misleading.
14
            203. The Class Action Defendants, because of their positions of control and
15
      authority as officers and directors of Honest, were able to and did, directly and/or
16
      indirectly, exercise control over the business and corporate affairs of Honest, including the
17
      wrongful acts complained of herein and in the Securities Class Actions.
18
            204. Accordingly, the Individual Defendants are liable under Section 11(f) of the
19
      Securities Act, 15 U.S.C. § 77k(f)(1), which creates a private right of action for
20
      contribution, and Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs
21
      the application of a private right of action for contribution arising out of violations of the
22
      Securities Act.
23
            205. As such, Honest is entitled to receive all appropriate contribution or
24
      indemnification from the Class Action Defendants.
25
                                       PRAYER FOR RELIEF
26
            FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor
27
      against all Individual Defendants as follows:
28
                                                   58
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 1
                   (a)     Declaring that Plaintiff may maintain this action on behalf of Honest,
 2
      and that Plaintiff is an adequate representative of the Company;
 3
                   (b)     Declaring that the Individual Defendants have breached and/or aided
 4
      and abetted the breach of their fiduciary duties to Honest;
 5
                   (c)     Determining and awarding to Honest the damages sustained by it as a
 6
      result of the violations set forth above from each of the Individual Defendants, jointly and
 7
      severally, together with pre-judgment and post-judgment interest thereon;
 8
                   (d)     Directing Honest and the Individual Defendants to take all necessary
 9
      actions to reform and improve Honest’s corporate governance and internal procedures to
10
      comply with applicable laws and to protect Honest and its shareholders from a repeat of
11
      the damaging events described herein, including, but not limited to, putting forward for
12
      shareholder vote the following resolutions for amendments to the Company’s Bylaws or
13
      Certificate of Incorporation and the following actions as may be necessary to ensure proper
14
      corporate governance policies:
15
                         1. a proposal to strengthen the Board’s supervision of operations and
16
                develop and implement procedures for greater shareholder input into the
17
                policies and guidelines of the board;
18
                         2. a provision to permit the shareholders of Honest to nominate at least
19
                five candidates for election to the Board;
20
                         3. a proposal to ensure the establishment of effective oversight of
21
                compliance with applicable laws, rules, and regulations;
22
                   (e)     Awarding Honest restitution from Individual Defendants, and each of
23
                them;
24
                   (f)     Awarding Plaintiff the costs and disbursements of this action, including
25
      reasonable attorneys’ and experts’ fees, costs, and expenses; and
26
                   (g)     Granting such other and further relief as the Court may deem just and
27
      proper.
28
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 1
                                    JURY TRIAL DEMANDED
 2
      Plaintiff hereby demands a trial by jury.
 3

 4
         Dated: November 29, 2021                 Respectfully submitted,
 5
                                                  THE BROWN LAW FIRM, P.C.
 6

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17
                                                  Counsel for Plaintiff
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